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                         UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

DON’T SHOOT PORTLAND, a nonprofit               Case No. 3:20-cv-00917-HZ
corporation, in its individual capacity,
NICHOLAS J. ROBERTS, in an individual           PLAINTIFFS’ MOTION FOR
capacity and on behalf of themselves and all    CLASS CERTIFICATION
others     similarly   situated,    MICHELLE
“MISHA” BELDEN, in an individual capacity       ORAL ARGUMENT REQUESTED
and on behalf of themselves and all others
similarly situated, ALEXANDRA JOHNSON,
in an individual capacity and on behalf of
themselves and all others similarly situated,
THOMAS DREIER, in an individual capacity
and on behalf of themselves and all others
similarly situated and LESTER WRECKSIE, in
an individual capacity and on behalf of
themselves and all others similarly situated,

       Plaintiffs

       v.

CITY OF PORTLAND, a municipal
corporation, and MULTNOMAH COUNTY, a
political subdivision of the State,

       Defendant.
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                                   LR 7-1 CERTIFICATION

       Undersigned counsel hereby certifies that they conferred with counsel for defendants on

many occasions, over the course of months in a good-faith attempt to resolve this issue without

filing a motion but were unable to do so. Counsel for defendants contests each and every element

of class certification for each and every class and sub-class.

                                             MOTION

       Plaintiffs Don’t Shoot Portland, Nicholas Roberts, Michelle “Misha” Belden, Thomas

Dreier, Lester Wrecksie, and Alexandra Johnson and a class of similarly situated individuals,

hereby move for an order certifying the following class and subclasses:

   1. General class for purposes of the First Amendment claim: all people who have engaged

       and will engage in the future in protest activities that follow the death of George Floyd

       opposing police violence and white supremacy, and all people who would like to engage

       in such protests but have not due to fear of being subjected to unlawful force by the

       Portland Police Bureau.

   2. Indiscriminate weapons subclass for purposes of the Fourth Amendment claim: This is a

       subclass of the general class which only includes protestors who were subjected to tear

       gas and rubber ball distraction devices by the PPB. This subclass includes protestors who

       were engaging in passive resistance to the orders of police at the time force was used, and

       those that attempted to comply with the orders of the police, but does not include those

       who were engaging in conduct beyond passive resistance at the time force was used.

   3. Targeted weapons subclass for purposes of the Fourth Amendment claim: This is a

       subclass of the general class which only includes protestors who were subjected to “less

       lethal weapons” (FN303 launchers, 40 mm launchers, batons, and aerosol restraints)



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        while engaged in protest activities. This subclass includes protestors who were engaging

        in passive resistance to the orders of police at the time force was used and those that

        attempted to comply with the orders of the police, but does not include those who were

        engaging in conduct beyond passive resistance at the time force was used.

        Plaintiffs seek to have this case certified as a class action pursuant to Fed. R. Civ. P.

23(b)(2) so that the claims of thousands of class members may be resolved in one fair and efficient

proceeding. Certification is appropriate under Fed. R. Civ. P. 23(b)(2) because the class is so

numerous that joinder of all members is impractical, there are questions of law and fact common

to the class, the claims of the representative parties are typical of the claims of the class, and the

representative parties will fairly and adequately protect the interests of the class. All of Plaintiffs’

claims and the claims of the proposed class members arise out of a common nucleus of operative

facts: PPB’s unlawful response to the protests. PPB’s practice of using excessive force against

protestors and their unlawful motivation for doing so makes injunctive relief appropriate

respecting the class as a whole.

        Plaintiffs respectfully request that the Court certify the case as a class action; appoint

Plaintiffs Roberts, Belden, Dreier, Wrecksie, and Johnson as the class representatives, and

appoint Plaintiffs’ counsel as class counsel.

        For the reasons discussed below, the Rule 23 prerequisites for class certification have

been satisfied, and class certification is appropriate.

                                    STATEMENT OF FACTS

        On May 25, 2020, George Floyd was murdered by Minneapolis Police Officer Derek

Chauvin. The murder was video recorded by a bystander and quickly went viral around the world.

In Portland, Oregon, like in many other cities around the country and the world, thousands of



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people took their demands for radical changes to the nature of policing to the streets. Demanding

an end to white supremacy and the police departments that uphold it, people rallied and marched

through Portland streets, expressing their anger, their sorrow, and their frustrations.

         Beginning on May 29, 2020, the PPB responded to these calls for change—which also

included explicit demands to end their jobs and careers—with a campaign of widespread violence.

PPB’s treatment of these demonstrators protesting white supremacy and police violence was

brutal, but well in line with how the agency has historically treated such viewpoints. Over about

100 days of active daily and nightly protest demonstrations, an estimated tens of thousands of these

demonstrators were met with more than 300 deployments of “tear gas,” a chemical weapon banned

for use in warfare. PPB also subjected people to additional indiscriminate weapons, such as

flashbang grenades, as well as so called “less lethal” weapons. They did this to thousands of people

who, like plaintiffs, were doing nothing more than standing in the street after being ordered to

leave.

         PPB’s unlawful conduct is a result of a multitude of failures within the bureau and the City,

many of which were known to the City early on, and either intentionally ignored or glossed-over.

For example, despite obvious violations and facially unjustifiable uses of force—including many

documented by PPB officers themselves—the City failed to properly train, retrain, or provide

discipline in response. The City’s alleged self-accountability measures, such as the Employee

Information System, also failed, and those failures were ignored even when readily apparent. The

Independent Police Review system charged with providing accountability was toothless at best,

with the Director admitting that, the way PPB’s policies and directives are written, IPR would not

be able to sustain officers’ violations anyway.




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       In total, PPB engaged in over 6,000 uses of force over the duration of the protests. Yet the

City found almost all uses of force were consistent with policy and training—including two

incidents for which the Court found the City in contempt of its Temporary Restraining Order.

(Defendant refused to provide any discipline for those incidents, either.) Because the City will not,

Plaintiffs seek class certification in order to hold PPB responsible for its violent and unlawful

conduct against an estimated tens of thousands of people who in the summer of 2020 declared that

Black Lives Matter.

I.     Viewpoint Discrimination

       Ample evidence suggests that the PPB’s response to left-wing protests against white

supremacy and police violence was motivated by the PPB’s strong disagreement with the message

of those protests. In particular, many protestors strongly advocated for either the abolition,

defunding, or disbandment of the PPB. Many protestors made direct comparisons between

individual members of the PPB to nazis, members of the KKK, and other white supremacists. It

was these protests exclusively to which PPB responded with violence.

       On June 1, 2020, Mayor Ted Wheeler issued a Declaration of Emergency Curfew. 1

Wheeler’s curfew gave law enforcement the authority to arrest people outside after curfew, but

carved out exceptions for almost all types of activities except participation in protests. Despite

clear constitutional law prohibiting curfews that unreasonably burden First Amendment activities,

Wheeler’s office made it clear that the curfew was explicitly meant as a tool for police to target

people engaged in demonstrations. See Nunez v. City of San Diego, 114 F.3d 935, 944, 949 (9th

Cir. 1997).



       1
         See Office of Mayor Ted Wheeler, City of Portland, “Declaration of Emergency
Curfew” (June, 1, 2020) https://www.portland.gov/sites/default/files/2020-06/signed-emergency-
order-curfew-june-1-2.pdf.

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       PPB responded with emboldened violence against demonstrators voicing opposition to

white supremacy and police brutality. PPB’s violent response to those demonstrating is consistent

with its response to similar protestors prior to 2020. For example, on November 26, 2014, during

a Portland demonstration following the grand jury decision not to indict Officer Darren Wilson

who shot and killed Black teenager Michael Brown in Ferguson Missouri, PPB clad in riot gear

blocked the demonstrators from marching on certain roadways, pushed and shoved them with

batons, and subjected demonstrators to pepper spray and arrest.2 On January 20, 2017 during an

anti-Trump demonstration, PPB subjected hundreds of nonviolent demonstrators (and journalists)

en masse to flash-bang grenades, tear gas, FN303s, and other munitions.3 On February 20, 2017,

during another anti-Trump demonstration, on multiple occasions, PPB rushed groups of nonviolent

demonstrators, tackling them, pepper spraying demonstrators in the face, firing FN303s, and also

arrested 13 demonstrators accused of standing in the street.4 Mayor Wheeler later acknowledged

PPB’s response to the demonstrators that day was a “mistake.”5

       PPB’s violent response to those demonstrating against white supremacy and police

brutality is starkly contrasted by its different and more favorable treatment of right-wing, neo-



       2
          KGW STAFF, Ferguson Protest Turns into Rolling Clashes with Police, KGW 8 (Nov.
26, 2014) available at https://www.kgw.com/article/news/local/ferguson-protest-turns-into-
rolling-clashes-with-police/318091109; Miller Resor, Photos: Portland Protests Michael Brown’s
Death, WILLAMETTE WEEK (Nov. 26, 2014) available at https://www.wweek.com/portland/blog-
32517-photos-portland-protests-michael-browns-death.html.
        3
          Doug Brown, Police Blasted and Tear Gassed an Inauguration Day Protest, PORTLAND
MERCURY                (Jan.           25,            2017)             available           at
https://www.portlandmercury.com/news/2017/01/25/18814554/police-blasted-and-tear-gassed-
an-inauguration-day-protest.
        4
          Doug Brown, Mayor Ted Wheeler: Monday’s Police Response to Trump Protest a
“Mistake,”       PORTLAND        MERCURY        (Feb.      21,      2017)      available    at
https://www.portlandmercury.com/blogtown/2017/02/21/18856914/mayor-ted-wheeler-
mondays-police-response-to-trump-protest-a-mistake.
        5
          Id.

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fascist, white supremacist demonstrators such as Proud Boys and Patriot Prayer members and

supporters. Joey Gibson is a right-wing extremist with a history of organizing “free speech” events

in Portland (among other places) meant to spew hate speech, incite violence, and antagonize anti-

fascist and anti-racist protestors. 6 Patriot Prayer and Proud Boys members and supporters

constitute and have close connections with fascists, known neo-nazis, and white supremacists,7

and have been open about their purpose and intent to engage in violence during their

demonstrations.8 Despite this, PPB typically targets not the Proud Boys or their supporters, but

rather the counter-demonstrators for force and arrest.

       On April 29, 2017, Gibson organized a “March for free speech” rally at Montavilla Park.9

Attendees included Trump supporters, someone who brought a Confederate flag, someone who

brought a sign mocking Jewish people, and Jeremy Christian armed with a baseball bat who gave




       6
          Molly Enking, Right-Wing Rally, Counter-Protestors Face off in Portland, PBS NEWS
HOUR (Aug. 4, 2018), available at https://www.pbs.org/newshour/nation/portland-police-city-
officials-prepare-for-right-wing-rally-and-counter-protest.
        7
          See, e.g., SOUTHERN POVERTY LAW CENTER, Extremist Files - Proud Boys, available at
https://www.splcenter.org/fighting-hate/extremist-files/group/proud-boys (last accessed Jan. 7,
2022);      KOIN       6,     ‘Pinochet    Did     No       Wrong’:      Who       is     Pincohet?
https://www.koin.com/local/multnomah-county/pinochet-did-no-wrong-who-is-pinochet (Aug. 4,
2018) (Patriot Prayer leader Tusitala “Tiny” Toese wearing a shirt that read “PINOCHET DID
NOTHING WRONG”)
        8
          Molly Enking, Right-Wing rally, Counter-Protestors Face off in Portland, PBS NEWS
HOUR (Aug. 4, 2018), available at https://www.pbs.org/newshour/nation/portland-police-city-
officials-prepare-for-right-wing-rally-and-counter-protest (quoting Gibson’s saying on a social
media livestream, “We’ve always had guns at the rally. I cannot think of one rally where we didn’t
have guns. Everywhere we go, we have guns”); see also, David D. Kirkpatrick and Alan Feuer,
Police Shrugged off the Proud Boys, Until They Attacked the Capitol, The New York Times
(published      Mar.      14,    2021;     updated     Aug.      23,    2021)       available    at
https://www.nytimes.com/2021/03/14/us/proud-boys-law-enforcement.html (also referencing
Proud Boys leaders Joeseph Biggs’ and Enrique Tarrio’s Portland rallies).
        9
          Doug Brown, Photos & Video: Saturday’s Right Wing march, Left Wing Protest in
Montavilla.        PORTLAND        MERCURY        (Apr.      29,      2017)       available      at
https://www.portlandmercury.com/blogtown/2017/04/29/18983985/photos-and-video-saturdays-
right-wing-march-left-wing-protest-in-montavilla

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a nazi salute and yelled racist slurs such as “fuck all you [n-word].” 10 The right-wing

demonstrators marched for more than two miles down SE 82nd Avenue, after which the City then

provided TriMet buses to take them back to Montavilla Park.11 PPB did not subject the right-wing

demonstrators to similar uses of force alleged in this case, and the only arrests made were of three

counter-protestors.12

       On May 26, 2017, Jeremy Christian stabbed three people who had intervened to stop his

racist harassment of two Black women on a MAX train, killing two.13 Nine days later, on June 4,

2017, Gibson and Patriot Prayer held a “Free Speech Rally” in downtown Portland at Terry Shrunk

Plaza, which was attended by open white supremacists and for which security was provided by the

Oath Keepers, a right-wing private paramilitary organization.14 Counter-protestors demonstrated

against the rally in the surrounding areas, including in Chapman Park.15 PPB treated the counter-

demonstrators differently and worse that day, including providing the alt-right protestors a safe

exit out of Terry Shrunk Plaza but conducting a mass detention of approximately 150 counter-

demonstrators in Chapman Square.16 PPB’s more favorable treatment of the right-wing protestors



       10
           Id.
       11
           Id.
        12
           Id.
        13
           Meerah Powell, Women Assaulted Day Prior to MAX Train Killings Testifies in Trial,
OPB (Jan. 31, 2020) available at https://www.opb.org/news/article/portland-oregon-max-train-
killings-jeremy-christian-trial-day-4/
        14
           OPB Staff, Dueling Protest rallies Turn Chaotic in Wake of TriMet Stabbings, OPB
(June 4, 2017) available at https://www.opb.org/news/article/rallies-expected-to-draw-huge-
crowds-following-max-stabbings/
        15
            Karina Brown, Right-Wing Protestors Assemble in Downtown Portland, Hugely
Outnumbered,        Willamette         Week      (June     4,    2017)      available       at
https://www.wweek.com/news/2017/06/04/right-wing-protestors-assemble-in-downtown-
portland-hugely-outnumbered/
        16
            AMERICAN CIVIL LIBERTIES UNION OF OREGON, Report and Recommendations to
Independent Police Review Regarding Portland Police Bureau’s Response to the June 4, 2017
Protests,               p.8-10,              available            at             https://aclu-


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was reflected both in PPB’s conduct towards the different groups of demonstrators, but also

directly by officers, including one PPB lieutenant who expreseed the belief that right-wing

protestors were “much more mainstream” than the left-wing protestors.17

       On August 4, 2018, Gibson and Patriot Prayer staged another rally in Portland at Tom

McCall Waterfront Park.18 Patriot Prayer attendees included openly armed demonstrators acting

as “guards.”19 PPB did not subject Patriot Prayer/Proud Boys demonstrators to force, nor did PPB

target them for arrest—even when police found several Patriot Prayer members on top of a

downtown Portland building adjacent to counter-demonstrators staging a sniper post with a cache

of guns.20 However, PPB did subject the counter-demonstrators to force, ordering them to disperse

and then launching an assault which hospitalized three people, including one counter-demonstrator

who suffered a head injury when a flashbang grenade struck the back of his head, lodging into a

helmet he was wearing.21 Then-PPB Chief Danielle Outlaw went on a conservative talk-radio




or.org/sites/default/files/field_documents/aclu_or_ipr_report_on_june_4_protests.pdf        (also
documenting other examples of PPB’s “Bias/Selective Enforcement”).
        17
            Katie Sheperd, Portland Police Saw Right-Wing Protestors as ”much More Mainstram”
Than       Leftist   Ones,      WILLAMETTE      WEEK     (June   27,     2019)    available    at
https://www.wweek.com/news/courts/2018/06/27/portland-police-saw-right-wing-protestors-as-
much-more-mainstream-than-leftist-ones/.
        18
            Katie Shepherd, Protestors Seeking Clash on Portland Waterfront Met by Army of Riot
Cops,           Willamette        Week        (Aug.       4,      2018)        available       at
https://www.wweek.com/news/2018/08/04/protestors-seeking-clash-on-portland-waterfront-met-
by-army-of-riot-cops/
        19
            Id.
        20
            Gordon R. Friedman, Armed Protestors Were on Portland Rooftop in August, Police
Now Say, The Oregonian/OregonLive (published Oct. 15, 2018, updated Jan. 29, 2019) available
at https://www.oregonlive.com/portland/2018/10/armed_protestors_were_on_portl.html
        21
            Jim Ryan, Shane Dixon Kavanaugh, Sarah Verschoor, At Least Three Hospitalized After
Saturday Protest; Police Chief Defends Tactics, THE OREGONIAN/OREGONLIVE (published Aug.
6,          2018;          updated        Jan.       29,        2019)         available        at
https://www.oregonlive.com/portland/2018/08/portland_police_chief_proteste.html

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show and disparaged the counter-protestors for “whin[ing] and complain[ing]” after PPB officers

had “kicked [their] butt.”22

        On October 13, 2018, Gibson held another demonstration billed as a march for “law and

order” in Portland.23 Gibson and attendees marched to a street memorial that people had set up for

Patrick Kimmons, a Black man shot and killed by PPB.24 That evening, although Patriot Prayers

openly beat counter-demonstrators with fists, bear spray, and batons outside of a popular bar in

downtown Portland, PPB made no arrests in its continued “hands off” approach to Patriot Prayer

and Proud Boys demonstrators.25

       Throughout this time, the Proud Boys’ open threats and calls for violence at their

demonstrations continued unabated. For example, in January 2019, a member of Proud Boys

openly threatened to “unmask every [antifascist] son of a bitch that [he came] across,” and repeated

a quote attributed to Gibson that “behind every blade of grass there is a gun.” 26 Gibson also

continued to advocate for the assault of antifascist demonstrators and opined that Portland’s

“streets need to be cleaned up.”27 Yet PPB’s pattern and practice of differential and more favorable

treatment of these right-wing demonstrators continued.




       22
            Katie Shepherd, Portland Police Chief Says Protestors Went Off to “Whine and
Complain” Last Week Because Officers “Kicked Your Butt,” WILLAMETTE WEEK (Aug. 15,
2018) available at https://www.wweek.com/news/courts/2018/08/15/portland-police-chief-says-
protestors-went-off-to-whine-and-complain-last-week-because-officers-kicked-your-butt/
        23
           Shane Dixon Kavanaugh, Bear Spray, Bloody Brawls at Patriot Prayer ‘Law and Order’
March in Portland, The Oregonian/OregonLive (published Oct. 13, 2018; updated Jan. 29, 2019)
available at https://www.oregonlive.com/portland/2018/10/patriot_prayer_flash_march_cal.html
        24
           Id.
        25
           Id.
        26
           Jason Wilson, Portland: Far-Right Activist Threatens Mayor as Group Change Tactics,
THE GUARDIAN (Jan. 29, 2019), available at https://www.theguardian.com/us-
news/2019/jan/29/portland-violent-rightwing-group-targets-mayor-with-threats.
        27
           Id.

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       On August 17, 2019, the Proud Boys held another demonstration in downtown Portland,

which was also attended by Proud Boys leaders Joe Biggs and Enrique Tarrio, who flew to Portland

from Florida for the rally.28 Counter-demonstrators protested the Proud Boys rally, including a

“Be the Spectacle” protest organized by Popular Mobilization and supported by religious and

community groups, with the goal of countering the Proud Boys’ hate speech and recruiting

efforts.29 That day, PPB allowed the Proud Boys to march on the roadway over the Hawthorne

Bridge, which had been closed to pedestrian and vehicular traffic, and provided no similar

allowance for the counter-demonstrators.30 Instead, PPB subjected counter-protestors to arrest for

allegedly blocking traffic—including one counter-protestor who twerked in a bike lane to NWA’s

“Fuck the Police,” and another person who spat on the ground in the direction of the police.31

       On August 22, 2020, pro-Trump and pro-police demonstrators held a rally in front of the

Multnomah County Justice Center, in response to and in opposition to the watershed Black Lives




       28
           Andy Campbell, Proud Boys Leader Admits Their Rallies Are for Fighting and Wasting
Money, HUFFPOST (Aug. 22, 2019; updated Aug. 24, 2019) available at
https://www.huffpost.com/entry/proud-boys-rallies-portland_n_5d5e9882e4b0dfcbd4893ee5.
        29
           Julie Sabatier, Q&A: PobMob Appeals to ‘Everyday Anti-Fascists’, OPB, Think Out
Loud (Aug. 26, 2019) available at https://www.opb.org/radio/article/oregon-portland-popmob-
anti-fascism-popular-mobilization/,
        30
           Alex Zielinksi, As Protest Spread Along the Waterfront and Across Bridges, Portland
Police Mostly Managed to Keep Protestors Apart, PORTLAND MERCURY (Aug. 17, 2019) available
at https://www.portlandmercury.com/blogtown/2019/08/17/26989070/as-protest-spread-along-
waterfront-and-across-bridges-portland-police-mostly-managed-to-keep-protestors-apart.
        31
           Maxine Bernstein, Twerking in a Portland Bike Lane During a Protest: Reasonable
Arrest or Not? THE OREGONIAN/OREGONLIVE (Jun. 3, 2021) available at
https://www.oregonlive.com/crime/2021/06/twerking-in-a-portland-bike-lane-during-a-protest-
reasonable-arrest-or-not.html; Maxine Bernstein, Woman Accuses Portland Detective of Targeting
Her for Arrest After She Spat Toward Riot Police Control Van, The OREGONIAN/OREGONLIVE
(Apr. 14, 2021) available at https://www.oregonlive.com/crime/2021/04/woman-accuses-
portland-detective-of-targeting-her-for-arrest-after-she-spat-toward-police-riot-control-van.html.

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Matter demonstrations following the police killing of George Floyd. 32 In stark contrast to its

conduct toward protestors all summer, PPB stood idly by while the pro-police demonstrators

engaged in open acts of violence, including one pro-police demonstrator who pointed a firearm at

the counter-protestors.33 PPB did not intervene to stop the fighting, did not target anyone for use

of force or arrest, and did not even declare a riot.34 Only after counterdemonstrators drove off the

pro-police/pro-Trump demonstrators did PPB declare an unlawful assembly.35

       To be sure, examples of PPB’s differential treatment predates 2014. In 1936, when anti-

fascist/anti-war protestors attempted to organize a protest against actual Nazis that were set to visit

the City of Portland, PPB arrested the organizers of the planned protests and held them in jail until

the Nazis were safely back on their warship days later.36 This attitude toward Nazis apparently

extended at least until 2005 when the City defended the conduct of then-Sergeant Mark Kruger,

who erected a memorial on City property to Nazi war criminals. 37 Rather than fire or punish

Kruger, the City ultimately promoted him to the rank of Captain.38 Notably, all of this information




       32
           Ryan Hass, Sergio Olmos, Bradley W. Parks, Protestors Fight Using Pepper Spray,
Baseball Bats in Portland on Saturday, OPB (Aug. 22, 2020) available at
https://www.opb.org/article/2020/08/22/conservative-protestors-plan-rallies-in-downtown-
portland/
        33
           Id.
        34
           Id.
        35
           Id.
        36
           Silvie Andrews, The (First) Time Nazis Marched in Portland, Oregon Historical
Society (January 22, 2019) available at https://www.ohs.org/blog/the-first-time-nazis-marched-
in-portland.cfm
        37
           Maxine Bernstein, Portland Police Panel Finds Capt. Mark Kruger Brought ‘Discredit
and Disgrace’ Upon The City By Erecting A Memorial To Nazi Soldiers, The
Oregonian/OregonLive (Published Oct. 8, 2010, Updated Jan. 10, 2019) available at
https://www.oregonlive.com/portland/2010/10/portland_police_panel_finds_ca.html
        38
           Id. Kruger’s defense of his conduct, which was adopted by the City, is patently
preposterous. Arguing on the one hand that he is a “history buff” and on the other that he had no
idea he was honoring war criminals is directly contradictory. A student of history would surely
know the only historically consequential fact about the men he was honoring.

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came out in the context of a lawsuit filed on behalf of anti-war protestors who alleged excessive

force by Kruger.39

       Portland has a rich history of protest. It also has a rich history of fascists and white

supremacists attempting to gain a foothold here, including through protest activities. Despite this,

there are no examples of the PPB violently cracking down on right wing or fascist demonstrators.

The examples of PPB violently cracking down on left-wing demonstrators are legion.

       Although plaintiffs have not yet been permitted to engage in discovery related to their First

Amendment claim, some support for their claims has been disclosed in other materials. In a

training presentation given to every new RRT member the presentation closed with a slide

glorifying police violence against left wing protestors:




Schoening Dep. 92:21-94:18; Decl. J. Ashlee Albies, at ¶3, Ex. 27.




       39
            Id.

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          The evidence above strongly suggests that the campaign of police violence that began on

May 29, 2020 was motivated by the goal of silencing advocates for police reform, defunding, and

abolition. The pervasiveness of the campaign is evidence enough to suggest the existence of an

established practice, policy, or custom of the city of Portland. Monell v. Dep’t of Soc. Servs., 436

U.S. 658, 691 (1978). Advocating for police reform, defunding, and abolition, in support of the

movement for Black Lives, is core protected speech. Cohen v. California, 403 U.S. 15, 26 (1971).

The campaign of violence by PPB would chill a person of ordinary firmness from continuing to

engage in the protected activity. Ariz. Students’ Ass’n v. Ariz. Bd. Of Regents, 824 F.3d 858, 867

(2016).

II.       PPB’s Use of Indiscriminate Weapons

          PPB calls what is commonly referred to as “tear gas” “riot control agents.” See PPB

Directive 1010.6.4.6; Schoening Dep. 26:14-25; Dobson Dep. 51:10-25.40 This includes all forms

of tear gas (OC and CS gas or vapors that are distributed either by compressed air or pyrotechnics).

Id. PPB also uses so-called “rubber ball distraction device” grenades (RBDDs). These devices are

also known to protestors as flashbangs, stun grenades, concussion grenades, and other names.

Decl. Alexandra Johnson, at ¶13; see also Samantha Matsumoto, What You Need To Know About

Flash-Bangs, OPB, August 14, 2018, available at https://www.opb.org/radio/programs/think-out-

loud/article/what-is-a-flash-bang/ (stating that flash bangs are also known as stun grenades,

include aerial distraction devices, and developed from concussion grenades). PPB characterizes

these as “area impact munitions,” which are a subset of “distraction devices.” See PPB Directive



          40
          Every deposition transcript cited in this memorandum is the deposition of the City of
Portland taken pursuant to Fed. R. Civ. P. 30(b)(6). The excerpts cited are all attached to the
concurrently filed declaration of Jesse Merrithew. To avoid confusion with the other exhibits,
they are cited by the name of the designated deponent for the City and the original page and line
number from the transcripts.

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1010.6.4.6; Schoening Dep. 24:11-25:06. By its own admission, the City knows that, each and

every time they use these devices, people who have not engaged in anything beyond passive

resistance will be subjected to the force. Dobson Dep. 56:07-57:11. The City restricts the use of

riot control agents and area impact munitions in the same ways under their directives. PPB

Directive 1010.6.4.6. Therefore, for purposes of this motion, plaintiffs are categorizing these two

types of weapons together as indiscriminate weapons.

       The deployment of these indiscriminate weapons was conducted at the direction of the

incident command for the purpose of dispersing a crowd. Schoening Dep. 65:13-66:02; 67:02-

68:15; Dobson Dep. 52:08-16. According to the City, while individual members were required to

conduct their own Graham analysis before deploying, they were not permitted to deploy in most

instances unless and until the deployment was authorized by incident command. Schoening Dep.

66:16-68:15; Dobson Dep. 62:15-63:19; see also PPB Directive 1010.6.4.6.1. They were

specifically authorized to use tear gas only in order to achieve tactical goals that were outlined by

incident command. Id. Incident command, in turn, was applying the City’s practice and policy

when they decided what the tactical goals were and when tear gas would be authorized in order to

achieve those tactical goals. Id.; Dobson Dep. 55:04-55:06. Therefore, if the use of tear gas

violated the Fourth Amendment, then it was the City itself that violated the Fourth Amendment on

each and every occasion because they were following written City policy or establishing a City

practice through their unified approach to these incidents night after night.41




       41
           The City’s written policy is facially unconstitutional when it comes to tear gas. The
written policy authorizes the use of tear gas “to disperse a crowd, when a demonstration or event
becomes a civil disturbance, as defined in Directive 635.10… .” 635.10 defines a civil
disturbance as “An unlawful assembly that constitutes a clear and present danger of riot,
disorder, interference with traffic upon the public streets or when another immediate threat to
public safety, peace or order appears.”

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        Researchers at Portland State University (PSU) documented almost 300 deployments of

tear gas by PPB from May 29, 2020 through September 5, 2020. See Tear Gas Deployment by

Portland Police in 2020, available at http://web.pdx.edu/~cb22/Teargas/Teargasmap.html.

According to those researchers, PPB deployed tear gas on 20 different days: May 29, 30, 31, June

1, 2, 5, 6, 13, 26, 27, 30, July 4, 18, August 5, 12, 19, 22, 23, 24, and September 5. Id. Three

hundred deployments is almost certainly an undercount based upon the discovery provided by

defendants to date. Citing this Court’s order limiting discovery, defendants provided Force Data

Collection Reports (FDCRs) for May 29, 30, 31, June 1, 2, 5, 6, and 27.42 On those eight days

alone, there are 64 FDCRs documenting the use of tear gas. The vast majority of those 64 FDCRs

document multiple deployments of tear gas. Albies, at ¶¶4-5.

        A.      June 2

        To take June 2, 2020, as one example, PPB deployed tear gas and RBDDs throughout

downtown Portland for over two hours. Decl. Franz Bruggemeier, at ¶4, Ex. A. In a single live

stream video from that night, dozens of tear gas and RBDD deployments are apparent. Id. The

video shows dozens of people being gassed while fleeing the police along with many apparently

uninvolved motorists being gassed while stuck in their cars.

        There are twelve FDCRs provided by the City that document the use of tear gas on June 2.

Albies, at ¶6, Ex. 28. Those twelve FDCRs, from twelve different PPB officers, document the use

of at least 67 canisters of tear gas. Id. “At least” because several officers did not specifically state

how many canisters they deployed, using the words “multiple” or “several.” Id. 67 is a conservative




        42
          In addition, the City provided emails sent by Incident Commanders summarizing the
prior nights’ activities for the nights of August 4, 10, 13, 15, 16, 22, 23, and September 5. Those
documents confirm that PPB used tear gas on August 22, 23, and September 5, but we have not
been provided with any detailed justification for the uses of tear gas on those dates.

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estimate. When the officers gave target crowd size estimates for their uses of tear gas, they ranged

from 50 to 500. Id. The description given by Officer Haase for the use of four canisters of CS gas

is more detailed than many, but still typical of the justifications given over and over for the use of

tear gas:

                 After being deployed to downtown Portland for a group of protestors
        numbering over 500 strong who were confronting officers at SW 5th and Salmon,
        Delta Squad took up position at SW 4th and SW Taylor, forming a skirmish line
        across the street facing west. A plan was made to try and disperse the group of
        protestors who were now violent and hostile toward the police officers who were
        manning fences at SW 4th and SW Salmon. The plan (using Delta and other RRT
        squads) was to try and disperse the group of protestors to the west and not allow
        them to go back to Pioneer Courthouse Square where the peaceful protest was still
        occurring. PPB wanted to make sure that the peaceful protest could continue
        without police interference or the violent protestors returning bent on confrontation.
                 A/SGT Kammerer asked if I had any 40mm CS that I could launch. I
        informed him that I had 4 remaining on my vest and then no additional. He
        instructed me to "send it" when the order was given. He wanted the rounds to land
        in the intersection of SW 5th and SW Taylor (which was part of the plan made with
        other teams). Once on the skirmish line and facing west, I observed a large group
        of protestors in the intersection (5th and Taylor) and observed members of the
        protest throwing several bottles towards the police. Other people from the protest
        started to form a line in front of us at SW 4th and SW Taylor using bikes and each
        other to try and form a blockade.
                 While waiting, I heard the PPB sound truck give several warnings and
        commands for the group to leave and move away. After each command or warning,
        the crowd would roar and throw even more objects at the police. After a few more
        minutes, the command from the IC was given to disperse the crowd. I launched the
        four CS rounds in succession into the intersection of SW 5th and Taylor. The large
        plum of CS gas caused several members of the protest to run away. Delta squad
        advanced west pushing the group of people on SW Taylor to the west as we moved.
        Other grenadiers used smoke and hand tossed gas to disperse the crowd as well.

Id. at 14. Every justification for the use of tear gas in the FDCRs from June 2 relies upon some

version of the “hostile crowd.” Consistent with the City’s policy and practice ignoring the number

of passively resisting protestors will be gassed, none of the FDCRs make any attempt to draw

distinctions among members of the “crowd,” punishing everyone in the crowd based upon the




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actions of a few. See Dobson Dep. 55:04-56:06. Declarations from the protestor and neutral

observer witnesses paint a more harrowing picture of the violence perpetrated by PPB that day.

       Adrian Butera-Smith describes participating in a large march on June 2 in support of Black

Lives Matter that arrived at the courthouse downtown. Decl. Adrian Salvatore Butera-Smith, Dkt.

5, ¶¶4-5. Butera-Smith describes peacefully chanting by the fence erected outside the courthouse

when the police started gassing the protestors and shooting them with rubber bullets. Butera-

Smith, at ¶¶7-9. Butera-Smith then describes many protestors running away, while a group of

about 20 peaceful protestors still standing at the fence was gassed with no way to escape:

       14. Right before the gas hit me, I turned and heard a woman standing a bit further from
       the barricade scream in agony, “I can’t see. I can’t see.” Then the gas hit my eyes
       and throat. I had nowhere to go. I was afraid of going back to the barricade where
       the police were standing, I was afraid of charging through the dense cloud of tear
       gas the opposite direction. I could not get away. I was scared.
       15. I, along with other protestors, pleaded with the police behind the wire barricade to
       let us through or safely escort us out so we could get away from the gas. I pleaded,
       asking, “what can we do in this situation? We are cornered in.” I received no
       response from the police. I was finally able to get the attention of a female officer.
       I pleaded with her, “there are people in pain.” The female police officer said, “if
       you want to go, you go that way” pointing to the dense cloud of tear gas across
       from her.

Butera-Smith, at ¶¶14-15. Additionally, declarants Andy Green, Allyxandra Theus, Daniel

Rushton, Melissa Nel, and Elijah Booth all describe being teargassed on June 2nd while engaging

in peaceful protest and passive resistance. See Decl. Andy Green, Dkt. 6, at ¶¶3-7, 10-11; Decl.

Allyxandra Theus, Dkt. 11, at ¶¶3, 9-12; Decl. Daniel Rushton, Dkt. 10, at ¶¶10-15; Decl. Melissa

Nel, at ¶¶5-10; Decl. Elijah Booth, at ¶15.

       Although the City uses the actions of individuals to justify its indiscriminate attacks on

whole crowds of people, the true goal was explicit—to end the protests. In fact, on June 2nd, PPB

repeatedly made announcements revealing that its members’ use of force against people was in

direct response to failure to leave the protest, not any individual conduct. Several video and audio


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recordings from June 2 include announcements by PPB stating, “This is the Portland Police

Bureau. This is a civil disturbance and we have declared this to be an unlawful assembly. Leave

the area now or you will be subject to uses of force including riot control agents and impact

munitions. LEAVE NOW.” Bruggemeier, at ¶34, Ex. AH, AJ, AK, AL. Another announcement

stated, “This is the Portland Police Bureau. Pioneer Square is closed. You must leave now or you

will be subject to use of force.” Id., at ¶35, Ex. AM. Videos from June 2nd reveal protestors

scrambling to run away as they are followed down the streets of downtown by police in riot gear

shooting tear gas canisters, flashbangs, and impact munitions. Id., at ¶4, Ex. A. Downtown

Portland resembles a war zone with only one active army – the PPB – chasing fleeing civilians.

       B.      Other Dates

       On other dates as well, PPB subjected numerous people to tear gas indiscriminately,

including protestors who were simply standing there and not engaged in any conduct beyond

passive resistance. See Decl. Brittany Bezdek, Dkt. 4,¶¶ 10, 11 (describing peacefully protesting

in Chapman Park when the police launched tear gas into the park without warning); Decl. Hari

Khalsa, Dkt. 7 (describing standing peacefully with a crowd of demonstrators where “tear gas

spread everywhere around me almost immediately”); Decl. Haley Loring Dallas, Dkt. 124; Decl.

Maggie Sisco, Dkt. 60; Decl. Gillian Herrera, Dkt. 58, ¶ 8; Decl. Akash Sharma, Dkt. 117; Decl.

Dylan VanWeelden, Dkt. 128, ¶¶ 6, 7, 8; Bruggemeier, at ¶¶ 4, 8, 9, Ex. A, F, G.

       On numerous occasions, protestors were tear gassed while they were in retreat or

complying with police instructions to leave the area. See Decl. Mara Kruzewski, Dkt. 8 (describing

being trapped in tear gas as police threw tear gas and flash bangs into the crowd and in the direction

police had directed protestors to retreat to); Decl. Bradie Nicole Winders, Dkt. 13, ¶13 (declarant

turned from the police to retreat and then, without warning, was shot with tear gas); Decl. Katarina



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Haas, Dkt. 127, ¶15 (describing how police shot tear gas over the crowd, forcing declarant and

other protestors to run through the tear gas in order to get away from the police); Bezdek, Dkt. 4,

¶12 (describing being forced to run through tear gas to get away from the police); Decl. Gabriel

Trumbly, Dkt. 25, ¶¶12, 13 (describing how police shot tear gas over their head, trapping declarant

between the police line and the tear gas); see also Decl. Kevin Wilbanks, Dkt. 12, ¶15; Butera-

Smith, Dkt. 5, ¶13, 15; Decl. Thaddeus O’Connell, Dkt. 63, ¶8; Decl. Scarlett Passmore, Dkt. 118,

¶11; Khalsa, Dkt. 7, ¶16; Decl. Chase Lingelbach, ¶10; Decl. Kathleen Mahoney, ¶15 (ACLU

legal observer); Bruggemeier, at ¶¶ 4, 7, 8, 10, Ex. A, D-F, H.

       Police also shot tear gas canisters directly into crowds of people, causing physical injury

from the canisters. Khalsa, Dkt. 7, ¶¶16-20 (declarant was hit in the shin with a tear gas canister

which caused a deep gash that bled for 48 hours). In addition, PPB subjected nonviolent protestors

to flash bang grenades, even when protestors were complying with instructions. Wilbanks, Dkt.

12, ¶¶ 9, 14 (indiscriminate use of tear gas, flash bang grenades, and rubber bullets on the crowd;

continued police use of tear gas and flash bang grenades when declarant was complying with police

directions to move); O’Connell, Dkt. 63, ¶¶6-7 (police fired rubber bullets and flash bangs at

declarant and other protestors before giving time to comply with an order to disperse); Decl.

Princess Unicorn, Dkt. 62, ¶6; Kruzewski, Dkt. 8; Trumbly, Dkt. 57; Mahoney, ¶11 (ACLU legal

observer declarant saw police throw flash bang grenade into a crowd of protestors complying with

orders to disperse).

       Police use of flash bang grenades directly into the crowd also caused physical injury from

the mechanism hitting or exploding on people. See Decl. Camila Ruth Kaplan, Dkt. 49 ¶¶9-11

(declarant hit in the leg with a flash bang grenade while backing up in retreat and not engaged in

active aggression); Decl. Benjamin Ficklin, ¶¶3-10 (describes trying to leave the protest in



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compliance with a dispersal order, walking past a line of officers, one officer making eye contact

with declarant before throwing a flashbang directly at the declarant, the flashbang bouncing on the

ground and hitting declarant in their chest); Decl. Lester Wrecksie, at ¶16; Bruggemeier, at ¶11,

Ex. J (flashbang explodes on or near Wrecksie while he is still or moving slowly as directed by

PPB).

         The PPB’s own FDCRs support the above witnesses’ accounts. For example, on May 30,

an officer describes deploying OC gas and smoke to the rear of a crowd to prevent them from

pushing back towards officers. Albies, Ex. 29, p. 3. That same night, an officer describes using

RBDDs on “a crowd of individuals (100+) running away in order to disperse them.” Id., at Ex. 30,

p. 3. On May 31, an officer describes protestors wearing "bandanas, gas masks, respirators,

goggles, face masks for snorkeling or scuba diving, and other clothing" as indicating the individual

wishes to engage in aggressive behavior towards the police, and notes the use of CS gas on the

crowd without identifying any individuals conduct with particularity. Id., Ex. 31, p. 4.

         On June 6, an officer noted “The impetus of this protest was based in anti-police sentiment.

Therefore, the vast majority of individuals within the crowd were hostile to police.” Id., at Ex. 32,

p. 1; see also Ex. 33, p.1 (same officer using same description for June 8, 2020 protest). The officer

used RBDDs to "motivate the group to break up and leave the area" but articulates no threat by

individuals who were facing away from the police. Id., at Ex. 32, p. 3; Ex. 33, p.3 (same officer

using RBDDs on a crowd of an estimated 100 individuals on June 8, 2020 with the stated intent

“to motivate the crowd to disperse without requiring officers to pursue them on foot”). Later, the

officer encounters 150 protestors walking westbound on SW Broadway/SW Washington St., and

wrote:

         [I]t was reasonable to believe they had been a part of the gathering near the Justice
         Center and it was equally reasonable to assume there was no justification for them


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        to be marching in the exclusion zone outlined by multiple PPB Sound Truck
        broadcasts (SW Lincoln to W Burnside and SW Naito Pkwy to SW 13th Ave). We
        called out loudly to the crowd to leave the area and go home, to parrot the verbiage
        from the Sound Truck admonishments. The members of the crowd did not
        acknowledge us and continued at the same walking pace. Sergeant Pool announced
        we were going to motivate the group to break up and leave the area. He and I both
        deployed RBDDs alongside the crowd before the squad was ordered off the rails to
        pursue crowd and take custodies.

Id., at Ex. 32, p.3. Likewise, an officer describes deploying OC vapor near a vehicle allegedly

supplying protestors with shields and projectiles to prevent people from approaching the truck. Id.,

at Ex. 34, p. 4. That same night, officers deployed an RBDD against a crowd of over 300 people.

Id., at Ex. 35, pp. 4, 6. Three RBDDs were used against “a large group of protestors” to “help

motivate the crowd to disperse.” Id., at Ex. 36, p. 2. Another officer noted he had probable cause

to arrest all subjects he used force against for crimes ranging from disorderly conduct to interfering

with a police officer, so after “[m]ultiple warnings were given telling people to disperse,” and force

warnings given over the loudspeaker from the sound truck, he “deployed a canister of smoke, and

two RBDDs (Rubber Ball Distraction Device) to encourage people to disperse without using

further force.” Id., at Ex. 37, p. 1-2; see also Bruggemeier, ¶¶ 4, 5, 9, 10, 30, Ex. A, B, G, H, AC.

        On June 19, an officer describes

        As we were moving the crowd of agitated protestors westbound I observed that
        many protestors were attempting to bait us into a force event by deliberately
        walking as slow as humanly possible while another protestor would attempt to
        video. This tactic of police baiting has been utilized several times over the last few
        weeks... In an effort to protect the officers on the line and try to disperse the crowd
        I placed one rubber ball distraction device (RBDD) about five feet from the crowd
        of protestors. When the RBDD detonated the crowd began to move westbound and
        a slightly faster pace.

Id., at Ex. 38, p. 3.




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       This evidence shows a clear pattern where PPB is using these indiscriminate weapons

indiscriminately on crowds of people for the sole purpose of dispersing them. As will be shown in

section IV, infra, this pattern of behavior was officially sanctioned by the City.

III.   PPB’s Use of “Less-Lethal Weapons”

       On a nearly nightly basis for over 100 days, PPB used four “less lethal” weapons against

protestors: the 40 mm launcher, 43 the FN303 launcher, 44 hand-held OC spray canisters, 45 and

police batons. These weapons are collectively referred to as “less-lethal weapons” throughout this

motion. The sheer scope of the amount of times PPB resorted to these weapons during the 2020

protests is difficult to illustrate. According to the USDOJ and City estimates, PPB used force over

6,000 times during these protests. Albies, at ¶9, Ex. 70, p. 5. Just from the tort claim notices (TCNs)

and lawsuits filed regarding PPB use of impact munitions during crowd control exclusively

regarding the limited dates subject to discovery in this lawsuit, fifteen individuals allege that PPB

used impact munitions against them following passive resistance. Decl. Madeline Kay, ¶¶5, 9-34.

Neutral observers witnessed more instances than they can count. See generally, Decl. James

Comstock; Decl. Anastasia Brownell; Decl. James Mapes; Mahoney.




       43
           The 40 mm launcher is also the weapon system that is used to launch the pyrotechnic
tear gas canisters described above. For purposes of this sub-class, we are only talking about the
40 mm when it was used as an impact weapon to launch so-called “sponge rounds,” “rubber
bullets,” or “marking rounds.”
        44
           The Court heard testimony on the capabilities of the FN303 and the specific types of
munitions that PPB uses in the FN303 during the contempt hearing. For purposes of this motion,
the different types of munitions used in the FN303 make no substantive difference. The FN303 is
used only as an impact weapon and is considered, both by PPB directive and the Fourth
Amendment, to be a similar use of force no matter what munition is loaded.
        45
           As is evident from the name, we are referring here only to the individual cans of OC
spray that individual PPB members carry, designed to be sprayed in short blasts to the subject’s
face. OC is sometimes incorporated in various types of tear gas munitions described above,
designed to be broadcast over a larger area. We do not categorize that use of OC as a “less-lethal
weapon” for purposes of this motion.

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       In addition, dozens of individuals have come forward revealing that PPB targeted

protestors with less lethal weapons following nonviolent protest activity and at most passive

resistance to orders to disperse. These witnesses describe clear patterns of unconstitutional conduct

by PPB.

       PPB subjected nonviolent protestors to 40mm impact munitions for the purpose of crowd

dispersal. Decl. Frederick Garlick, Dkt. 50, ¶14 (shot with a rubber bullet while attending to a

young woman who had fallen); Rushton, Dkt. 10, ¶17 (shot with a rubber bullet “while walking

away from the area with my hands up”); Butera-Smith, Dkt. 5, ¶¶7- 9; O’Connell, Dkt. 63, ¶¶6-7;

Decl. Margot Simon, ¶11; Lingelbach, ¶10; Decl. Mitchell Green, ¶6-8 (“I was standing in front

of the justice center observing when I got hit with one rubber bullet in the right arm”); Booth, ¶¶

7-12; Decl. Maddie Nguyen, ¶5; Kay, Ex. 18 (Dominique Brouchard complaint), Ex. 12 (Robert

Evans, Bea Lake, Sadie Oliver-Grey complaint), Ex. 15 (Madeline Kay TCN), Ex. 17 (Alexandra

Montgomery complaint); Ex. 19 (Rose Mayer TCN), Ex. 20 (Lydia Fuller complaint); Mapes,

¶¶10-11 (ACLU legal observer, James Mapes, describes observing officers fire off impact

munitions while leaving on a riot van); Bruggemeier, at ¶¶ 8, 22, 24, Ex. F, U, W.

       PPB subjected protestors to baton strikes, even when demonstrators were in retreat or

attempting to move away from the police. O’Connell, Dkt. 63, ¶9; Garlick, Dkt. 50, ¶25 (police

shoved protestors with batons as protestors backed away); Decl. Bradie Nicole Winders, Dkt. 13.

¶¶11-12 (describing being trapped between police and other protestors while the police used batons

to push, shove, and beat protestors); Lingelbach, ¶6 (describing the declarant and his friend being

batoned as they tried to run away from police); Green, ¶¶11-12; Decl. April Fox, ¶6; Ng, ¶¶12, 15;

Lucas, ¶¶11, 14, 16; Decl. Shion Oudinot, ¶¶3, 5-6; Decl. Daniel Rushton in Support of Class

Certification (“Rushton II”), ¶¶6, 14, 15; Decl. John Wilson, ¶7 (describing an officer running at



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him at full speed, striking him with a baton on throat, and being thrown against a parked car and

on the ground); Decl. Nina Frick, ¶¶12-14 (describing being hit so hard in the back during a bull

rush that she flew 4-5 feet before hitting the ground and losing consciousness); Kay, Ex. 24. (Ted

Timmons TCN), Ex. 25 (Elijah Warren TCN), Ex. 21 (Damesha Smith TCN), Ex. 22 (Logan

Colwell TCN); Brownell, ¶17; Mapes, ¶12; Mahoney, ¶13, 22-24 (ACLU legal observer declarant

struck with a baton, observed PPB shove a person on crutches attempting to get away, observed

PPB use batons against people who were slowly walking away in compliance, observed officers

shove a person over a highway barrier as the person dangled over I-5 and fell to the sidewalk as

officers stepped over him in a bullrush); Bruggemeier, at ¶¶ 5, 6, 12, 13, 23, 25-27, Ex. B, C, K,

L, V, X-Z.

       PPB indiscriminately subjected protestors to OC spray or “pepper spray,” including when

protestors were in retreat. Trumbly, Dkt. 57, ¶11; Garlick, Dkt. 50, ¶¶24, 25 (describing officers

using OC spray “from right to left” on a line of protestors; officers spraying the backs of people’s

heads); Kaplan, Dkt. 49 ¶8 (officer sprayed a protestor in the face at close range while they were

backing up in retreat); Seaver, ¶ 9; Oudinot, ¶¶6-7; Tupper, ¶¶2, 4, 6-10 (describing going on a

walk in his neighborhood, getting stuck behind the police line and trying to get out and seek

direction from police on how to leave safely, being shoved and tackled and pepper sprayed in the

face); Wilson, ¶¶6, 7-8; Kay, Ex. 24. (Ted Timmons TCN), Ex. 26 (Evan Henshaw-Plath TCN);

Mahoney, ¶26. The police’s use of OC spray included multiple incidents or removing a protestor’s

mask or goggles in order to spray them directly in the face. Garlick, Dkt. 50, ¶24 (officer pulled

down declarant’s mask so the officer behind them could spray declarant with OC); Trumbly, Dkt.

57, ¶11 (witnessed police grabbing goggles off protestors’ faces and then spraying pepper spray

directly in their eyes); Decl. Teri Jacobs, ¶9 (“officer ripped my protective goggles off my face,



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and pepper sprayed me directly in the eyes”); Bruggemeier, ¶¶ 5, 6, 12, 14-19, 21, 31-33, Ex. B,

C, K, M-R, T, AD-AG. PPB’s use of pepper spray was so indiscriminate that on multiple

occasions, officers shot spray through the windows of their moving police vehicles. Wilbanks,

Dkt. 12, ¶13; Decl. Lester Wrecksie, ¶32.

       PPB used FN303s on nonviolent protestors in order to disperse the crowd. Trumbly, Dkt.

57, ¶12; Nel, ¶¶8-9; Decl. Courtney Margolin, ¶11; Wrecksie, ¶¶19, 23, 34; Kay, Ex. 2 (Dustin

Brandon Ferreira TCN), Ex. 16 (Kelcie Ulmer TCN); Mahoney, ¶27. This indiscriminate tactic

included shooting FN303s against protestors who were in retreat and walking away from the

police. Herrera, Dkt. 58, ¶9 (declarant hit with tear gas, RBDDs, and FN303s while walking away

from officers with their arms in the air); Decl. Zack Reinhardt, Dkt. 53, ¶¶14-17; Unicorn, Dkt.

62, ¶6; Mahoney, ¶16; Bruggemeier, at ¶¶ 8, 12, 16, 20, 28, Ex. F, K, O, S, AA.

       While contextualizing the breadth and scope of the violence may be difficult to do,

understanding the legal rule at issue is simple. It is not permissible to use any of these weapons

against passively resistant protestors, ever. See Nelson v. City of Davis, 685 F.3d 867, 883 (9th

Cir. 2012) (holding that use of impact munitions against non-violent party-goers during chaotic

attempt to disperse party violated Fourth Amendment); Headwaters Forest Def. v. County of

Humboldt, 276 F.3d 1125, 1130 (9th Cir. 2002) (holding that any reasonable police officer would

know that pepper spraying protestors in order to force them to comply with an order violated the

Fourth Amendment); Young v. County of Los Angeles, 655 F.3d 1156, 1167 (9th Cir. 2011)

(holding that any reasonable police officer would know that using a baton against a person who

refused an order to return to his car violated the Fourth Amendment).

       PPB repeatedly violated these clear rules, described in detail by witnesses and victims. For

example, Elijah Booth describes being shot in the ribs with a rubber bullet after an announcement



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that “if you come any closer, we will shoot.” Booth, ¶¶7-12. “When I was shot, I was not doing

anything threatening. I was passively resisting by moving back but staying in the crowd gathered

in that area.” Id. Margot Simon was demonstrating at the Justice Center on July 25 when some

protestors started pulling down the fence. Simon, ¶9. Simon was wearing a yellow hard hat and

was not participating in pulling down the fence, but instead was trying to leave the crowd. Simon

describes being unable to leave because people were packed in tightly and the police were

advancing and deploying tear gas and impact munitions. When Simon ducked for cover behind

people holding shields in front of them, they were hit with many rounds of rubber bullets (40mm)

and pepper bullets (FN303s). Id. at ¶9-13.

       Maddie Nguyen describes about 20-30 protestors outside the PPB’s east precinct being told

to disperse on August 7, winding up at Ventura Park. PPB followed the protestors to Ventura Park

and formed a line, with protestors forming a line 20-30 feet away. At most, Nguyen describes that

the protestors yelled things at the police. Nguyen was dancing in place, not engaged in any sort of

threatening behavior when they were shot in the knee with an impact munition. Decl. Maddie

Nguyen, ¶¶3-5.

       Amanda Seaver describes just standing to the back of a crowd of protestors, who chanted

and pressed on squeaky pig toys, when police began approaching the group of protestors on both

sides. Seaver describes being pepper sprayed and brutalized after simply standing in the crowd:

       9. I saw an officer take out a can of mace and spray at us as I instinctively ducked
       my head--even while wearing a respirator, in the past, it has caused coughing and
       sneezing. I was then pulled to the ground by at least one of the officers and
       dragged across the pavement by my helmet. The helmet strap was pressing
       against my neck, causing difficulty breathing, pain, inarticulable fear, and an
       intense anxiety.

       10. I was pulled several feet on the ground while on my side, grasping for my
       helmet strap to try to remove it. I was then flipped onto my back forcefully and



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        my hands pulled behind my back. One officer detained me by kneeling on my
        legs while another zip tied my wrists.

        11. The degree to which the zip ties were tightened, as well as the way my wrists
        were positioned by the officer, caused immediate pain and I started to feel the
        effects of a lack of circulation. While being walked away from the area I asked if
        the restraints could be loosened as I was in a high level of pain. "We'll take care
        of that when it's time," the officer said.

Decl. Amanda Seaver, ¶¶9-12. Although Seaver was arrested and booked, they were released later

that night and no charges were ever filed against them. Id., at ¶14. After this brutal experience,

Seaver is too fearful and intimidated to engage in further protests. Id., at ¶15 (“This was the last

protest I attended because of the fear and intimidation I feel about the possibility of being assaulted

again by Portland Police.”)

        Carly Ng describes a bull rush and PPB use of batons as a tactic clearly intended to terrify

and injure the protestors. Ng, ¶¶12, 15. “When the PPB bull rush started, it felt like pure aggression

from the police. They shouted "MOVE," ostensibly to clear the area, but they were running after

people and shoving them to the ground, and then continuing to shove and strike them after they

were already on the ground. I could see other protestors being hit with batons. It seemed clear to

me that PPB's tactics were intended to terrify and injure us, not to actually clear the street. It really

scared the crowd and scattered them. People started running. There was an atmosphere of fear and

panic. … It appeared to me that PPB were shoving and striking everyone indiscriminately.” Id.

ACLU Legal Observer Kathleen Mahoney describes PPB closing streets off to a march without

provocation. Mahoney, ¶¶18-22. Mahoney describes protestors passively resisting orders to

disperse by sitting down in the roadway, police responding by pepper spraying protestors. Id., at

¶26. “Any direction that the main group of protestors went, PPB quickly drove down an adjacent

street and blocked their march.” Id., at ¶20. Mahoney declares that “[t]here was no apparent reason




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I could discern that provoked PPB to exercise this type of policing. The policing method seemed

to escalate tension.” Mahoney, ¶¶18-23.

       Muriel Lucas describes attending a small protest on August 21, 2020 outside the PPB’s

North Precinct. Lucas, ¶2. Lucas describes being aware that there was vandalism of a PPB vehicle

but Lucas was not involved in the vandalism or know anyone involved. Id., at ¶8. A sudden police

announcement with order to disperse was immediately followed by a PPB bull rush. Id., at ¶9.

Lucas then describes being pushed by PPB down dimly lit residential streets, trying to move as

fast as they could, and being hit from behind with a baton apparently for not running fast enough.

Id., at ¶11 (“I flew forward and landed on my wrists and knees. I was in shock. Another protestor

picked me up and carried me over their shoulders as we tried to continue running west.”). At this

point the protest was dispersed and people were trying to leave the area by walking down side

streets. Id., at ¶12. Lucas then describes the PPB continuing to brutalize them with batons for no

apparent reason whatsoever:

       13. I was walking with a very small group east toward where my car was parked
       behind the precinct when I saw lights coming toward us. Other people started
       yelling that the police were coming again, and I realized that there was another
       PPB bull rush charging directly at our small group. We ran for a long time toward
       the vicinity of Williams Ave, at which point the police were still following us.

       14. I was unable to move quickly enough and was again hit from behind by a PPB
       officer. Iwas thrown over and through the other protestors before landing on the
       ground. My knees, arms, and palms were shredded and I was bleeding
       everywhere. I was eventually able to get up and began hobbling away to the
       south, the direction we were originally ordered to move in by PPB.

       15. We encountered more police in front of us to the south.

       16. A PPB officer stopped and looked directly at me, then hit me with his baton
       using a hard shoving motion with both arms. He struck me on the chest and
       shoulder, and I was again pushed to the ground.




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Id., at ¶¶13-16. That evening PPB officers broke Lucas’ collar bone and inflicted enormous pain

and damage in the form of large areas of bruising. Id., at ¶¶20-21. Lucas suffers ongoing trauma

and physical injuries from the PPB’s use of force. Id., at ¶22.

        Daniel Rushton, in his second declaration for this case, describes a night on June 30 when

he was acting as a trained emergency medical technician at the protest to provide first aid to anyone

who needed it, always wearing a white helmet with a clearly identifiable red cross on it. Rushton

II, at ¶3. Rushton describes sitting down in the street as an act of passive resistance to orders to

disperse when PPB struck him with a baton in the back of the head. Id., at ¶¶6-7 Rushton also

describes a night on June 12 when he was again acting as a medic and standing aside with a group

of other medics “so police would see that we ere there to support and aid.” Id., at ¶13. Police

targeted and kettled the medics, beating them with batons, instead of leaving them alone:

        While we stood there, about six or seven Portland Police officers rushed up and
        surrounded (kettled) us against a building. They began shouting for us to move
        on, but we had no ability to move because the police had trapped us against the
        building. Then the police began hitting us with batons on our heads and shoulders.
        The taller of us, myself included, were wearing helmets and caught most of the
        blows. While keeping us kettled the officers continued clubbing us and shouting
        at us to move. This lasted for about two minutes and then one officer moved to
        the side allowing us to move away one at a time, in the direction the officers
        indicated. As we left the kettle, we were all subjected to further baton strikes.

Id., at ¶14. Rushton goes on to describe a friend who was unable to run away from police due to a

serious medical condition who was targeted by police, grabbed, and beaten with a baton in the

groin. Id., at ¶15.

        Declarant Evan Tupper describes going on a short walk in his neighborhood in North

Portland on July 14 and walking out onto Lombard where a protest was happening. Tupper, ¶¶2-

4. Tupper describes a situation where police were not clear about directions of where they wanted

people to go and a failure to communicate clear orders. Id., at ¶6. Tupper decided to leave and go



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home but officers would not allow him to cross Lombard to get home, no matter how far he tried

to get from the police in order to cross. Id., at ¶¶6-7. Tupper repeatedly asked police officers what

they wanted him to do in order to safely cross and get home. Instead of communicating clear

orders, police shoved him toward the police line and later pepper sprayed him directly in the face.

Id., at ¶¶6-10. After being pepper sprayed in the face, he was tackled to the ground and arrested,

yet never charged. Id., at ¶¶11-14.

       The evidence, even at this early stage, points to a common explanation for why this

happened (aside from the viewpoint discrimination described above). The City, whether through

an unconstitutional written policy, a failure to properly train, a failure to correct actions when it

was obvious training had been inadequate, or through its complete and utter lack of ability to

discipline any officer for excessive force, created a practice of using force against anyone who

refused to disperse when ordered to disperse, and often people who were attempting to disperse.

IV.    The City’s Pattern of Officially Sanctioned Behavior

       The evidence here is sufficient to establish that PPB’s conduct during the protests was not

an isolated event. It was part of pattern of officially sanctioned behavior such that the proposed

class representatives have standing to seek injunctive relief.

       A.      Unconstitutional Written Policy

       The written directives that PPB members are required to follow do not clearly articulate

constitutional limitations on the use of force during crowd control events. While PPB Directive

1010 contains specific limitations on the use of specific weapons, Directive 635 appears to give

an alternative justification: “When the crowd has been ordered to disperse and does not heed

repeated warnings, and no reasonable alternative is apparent, riot control agents (RCAs) and/or

special impact munitions may be deployed to prevent violence, injury or property damage and to



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avoid a greater application of force.” PPB Directive 635.10.9.2.46 This exception is not based in

any Fourth Amendment caselaw. By authorizing the use of force against a “crowd,” particularly

when it authorizes force either to prevent property damage or “avoid a greater application of force,”

the directive authorizes force in violation of the Fourth Amendment. This same problem exists in

directive 1010 itself when it authorizes the use of impact munitions “to avoid the use of a higher

level of force.” PPB Directive 1010.6.4.2.1.3. Similarly, directive 1010 authorizes the use of

“aerosol restraints” (OC spray) “When a person(s) engages in physical resistance or indicates the

intent to engage in physical resistance.” PPB Directive 1010.6.4.3.1.1 (emphasis added). It is

evident based on PPB members’ use of OC spray during the protests that they interpreted this

provision to authorize the use of OC spray on protestors who refused to leave when ordered to

disperse and attempted to stand in the street in the face of a police line. The use of OC spray in

these situations, apparently authorized by directive, is a clear violation of Headwaters, 276 F.3d

at 1129-30.47

            B. Failure to Properly Train

       These uncertainties in the PPB directives could have been cleared up in training, but they

were not. Instead, PPB training for crowd control events focused primarily on training members

to articulate their justification for their uses of force in such a way to comply with directives. In

other words, training was aimed at creating better post hoc justifications for the use of force rather



       46
            This problem has been repeatedly pointed out by the USDOJ. See, e.g., Albies, at ¶10,
Ex. 71, at 6. “That distinction ignores the possibility that a generalized justification may mask
the lack of a specific justification consistent with the Constitution and PPB policy. That
possibility is made more acute by PPB’s silence on several concerns we have raised, including
PPB’s pattern of misusing the phrase ‘active aggression’ to justify force against individuals who
engaged in passive resistance or merely failed to disperse, and misapplying Directive 635.10 to
justify force that does not comply with Directive 1010.00.” Id.
         47
            This problem was undoubtedly aggravated by the fact that the City trained its RRT
officers that Headwaters held the opposite of what it actually held, as discussed below.

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than avoiding unconstitutional force. During the City’s deposition discussing how it trains RRT

members on use of force during crowd control, the members’ ability to “articulate” their

justification was a constant refrain. See, e.g., Schoening Dep. 44:05-45:20, 54:02-55:02, 67:02-

68:07, 69:22-70:09, 72:21-74:02, 76:07-77:24, 79:22-81:01, 81:11-82:02, 82:12-83:11. This focus

on the articulation of the justification, rather than whether the use of force is substantively justified

was also critiqued by the USDOJ: “PPB does not address whether a particular use of force was

justified, focusing instead on the articulation of the justifications reported in FDCRs. … That

distinction ignores the possibility that a generalized justification may mask the lack of a specific

justification consistent with the Constitution and PPB policy.” Albies, at ¶10, Ex. 71, p. 6.

        In the rare circumstance where the City actually trained its officers on specific substantive

rules germane to crowd control, they got it completely wrong. The City trained its RRT genadiers

that the district court’s holding in Headwaters, which was reversed (twice) by the Ninth Circuit,

was the controlling legal rule. See Schoening Dep. 38:11-41:22; Albies, at ¶11, Ex. 72. It trained

these officers that “Use of pepper spray to compel compliance by anti-logging protestors was a

reasonable use of force; federal trial judge rules that no reasonable juror could view its use in these

circumstances as excessive force.” Id. In fact, the Ninth Circuit reversed this specific ruling.

Headwaters, 276 F.3d at 1129-30. While the City acknowledged that it improperly trained its

grenadiers on this point, it still endorsed training that was substantively in violation of Headwaters.

As discussed above, the City’s directives authorize the use of OC spray when people indicate an

intent to engage in physical resistance. When asked how the City trains its officers to apply this

directive in protest situations, the City answered: “Things like locking hands or locking arms,

could indicate some intent to resist your efforts to arrest people or disperse them….” Schoening

Dep. 74:03-74:24; see also Bruggemeier, at ¶29, Ex. AB (officer tells dispersing protestors that



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police will “use force on you if you don't get out of here. Everyone holding each other, that's

unlawful.”). The facts in Headwaters were that the protestors had physically locked their arms

together using a homemade mechanism called a “black bear”. 276 F.3d at 1128-1129. The Ninth

Circuit held that this was not enough to justify the use of pepper spray to force the protestors to

unlock themselves. Id. at 1129-30. Therefore, the City’s training that “locking hands or locking

arms” in an effort to resist dispersal could justify the use of pepper spray is directly in conflict with

existing Ninth Circuit precedent.

        The failure to train is particularly inexcusable in these circumstances given the simple fact

that protestors engage in common patterns and common tactics. Unlike a criminal suspect on the

street, who may be completely unpredictable, protestors use common tactics, some of which have

been used for decades. The City’s refusal to simply train its members that ‘this tactic amounts to

passive resistance,’ or ‘this tactic amounts to active aggression,’ is not an oversight. It is a

deliberate attempt to allow PPB members to use whatever force they desire and have ample leeway

to justify it after the fact by their directives.

        C.      Failure to Correct or Retrain When Failure Was Obvious

        Even if the initial training itself was not so inadequate as to lead to liability under Monell,

the inadequacy of the training should have been obvious, even to the most casual observer, within

a week of the start of the protests. However, PPB’s own system for tracking uses of force broke

down at the same time, compounding the problem.

        Following any use of force, PPB officers must file an FDCR. Resch Dep. 20:02-07. FDCRs

are to be completed before the end of the officer’s shift. Resch Dep. 20:12-16. Officers are to detail

the time, location, type of force used and the legal justifications for the use of force. Resch Dep.

20:17-21:03. Officers are also supposed to report their use of force to their supervisor, typically a



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sergeant, so that they may initiate an investigation on the scene. Resch Dep. 22:23-23:06. At the

scene, the supervisor interviews witnesses and gathers evidence. Resch Dep. 23:10-16. Following

submission of the FDCR and the investigation on the scene, the supervisor then writes an After

Action Report (“AAR”). These AARs are supposed to be complete within 72 hours of the use of

force. PPB Dir. 1010.13.3. That supervisor’s supervisors will then review the AARs to determine

if the AAR filer followed PPB Dir. 1010.13.

       Untimely FDCRs and AARs—i.e., those completed outside the time allotted by PPB

directive—are out of policy. Resch Dep. 24:16-24. The FDCR and AAR requirements are not

different in the “crowd control” setting. Resch Dep. 24:7-15.48 Even if the demands of following

PPB’s FDCR and AAR requirements are straining, the policy still controls and failure to follow

the timing and investigation requirements violates City policy. Resch Dep. 24:7-24. Accurate and

timely FDCRs and AARs are essential to determining whether or not force was compliant with

City policy and training. Resch Dep. 49:14-20, 54:24-55:2; Bell Dep. 161:1-10; Caldwell Dep.

74:9-17. Without accurate data, the City cannot address training and discipline problems. Resch

Dep. 55:8-17.

       During the months of June and July 2020, the City maintained a backlog of FDCRs and

AARs. Simon Dep. 11:19-12:3. PPB claimed that this backlog came to be because following

through with FDCR and AAR processes was incompatible with the “volume” of PPB’s force and

“fatigue” felt by the officers using force. Resch Dep. 31:2-10; Albies, at Ex. 73, p. 15. This

breakdown led to supervisors being unable to “catch errors and cross reference uses of force” in




       48
          The FDCR and AAR requirements are nested in PPB Dir. 1010.13, along with the
overall force policy for PPB, not with 635.10, which describes crowd control event directives.
PPB Dir. 635.10.13.1.1 directs Incident Commanders to “[w]rite an After Action in accordance
with… 1010.00, Use of Force, if force was used…” (emphasis added).

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FDCRs. Resch Dep. 32:1-10; Albies, at Ex. 73, p. 15. PPB identified that this was a problem by

the “end of May.” Simon Dep. 12:14-18.

       In addition, the FDCRs and AARs that were submitted and reviewed by the Office of

Inspector General during this period contained “insufficient” data (Simon Dep. 12:19-13:07) and

were “problematic.” Simon Dep. 13:21-14:13. Missing FDCRs posed the “most important issue”

presented in May and June 2020. Simon Dep. 21:01-07; Albies, at Ex. 74, p. 1.

       As discussed above, timely and accurate FDCRs are crucial to accountability. Resch Dep.

49:14-20. Sergeants were not investigating force at the scene of the force—either at all or in a

timely manner. Resch Dep. 48:02-09, 42:05-10; Simon Dep. 28:12-14. Two of the sergeants tasked

with “curing” the PPB backlog by addressing FDCRs going forward had “little to no crowd

management training.” Resch Dep. 49:21-50:04, 50:18-51:08.

       A July 9, 2020 training highlighted some of the findings of a use of force audit done by the

Office of Inspector General. Simon Dep. 9:04-09. The training describes an audit of two random

samples of squad FDCRs where both had missing reports. Simon Dep. 21:01-07; Albies, at Ex.

74, p. 16. The training highlights that descriptions of force that were “problematically” condensed

into one description of force (“30-50 rounds” against “3 to 5 subjects” described as a single use of

force). Simon Dep. 24:14-19; Albies, at Ex. 74, p. 3. Regardless of this problematic language, the

training goes to length to exonerate the officer who did not follow the FDCR standard by stating

that the force was “most likely justified.” Albies, at Ex. 74, p. 3. By the time of this training,

FDCRs had gone unreviewed for “weeks.” Simon Dep. 40:11-18. Some FDCRs were never

received. Simon Dep. 40:11-18.

               1.      FDCRs were inaccurate, incomplete, and/or demonstrated violations of
                       use of force policy on their face.




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       The accuracy of the FDCRs is critical to all aspects of review of uses of force. Officers rely

on the force data collection report when recalling specific uses of force. Bell Dep. 160:19-25. If

the information in the force data collection report is inaccurate or incomplete, that impacts an

officer’s ability to give an accurate statement regarding the incident, which then impacts the

efficacy of any administrative investigation into the particular use of force, making that review

less reliable. Bell Dep. 161:01-10, Caldwell Dep. 74:09-17, Resch Dep. 49:14-20, 54:24-55:02.

       Here again, the City’s attempt to correct this problem focused on procedure rather than

substance. Nothing was done to address the fact that many FDCRs reveal on their face unjustified

use of force. From a sample of 41 FDCRs, plaintiffs found 45 of uses of force where the reported

justification on its face is incomplete or does not meet the Graham standard. Albies, at ¶8. Of

these, plaintiffs identified 12 incidents where OC spray was used on passive resisters, 8 incidents

of unjustified impact munitions, and 25 unjustified baton strikes or pushes. Id.

       For example, FDCRs describe use of OC spray on people who simply:

   •   yelled at police, Ex. 39, p. 3 (spraying a person who yelled, “don’t fucking touch me”
       speculating that the person would shove the police, despite being 5-7 feet away); Ex. 40,
       p. 2, 3 (checking “active aggression” for a “tall white male, about 5'10' wearing a dark
       coat was refusing commands to disperse from Lownsdale Square. He faced me and yelled
       "this is our city, get the fuck out, this is our park." I sprayed a short burst of OC into his
       face. He shut his eyes for a moment and then remained standing there yelling profanities
       at me. I then secured my OC can in the holster” and “[a] white female in her 20s who had
       been lying in the street stood up as I approached and began yelling something incoherent
       toward me. I sprayed her with a short burst of OC spray and she then walked off
       northbound on SW Fourth with the crowd.”);

   •   peacefully refused to disperse, Ex. 39, p. 3. (“I pushed him with my hand and not my
       stick. He did not resist my push but also did not move south or disperse from the area. At
       this time I raised my right hand, in which I held my large OC can and told the male to
       move or I would spray him. He did not move and instead yelled at me. I was about 7-10
       feet from him and sprayed him once in the left eye with OC. He immediately grabbed his
       face and fell to the ground. Both myself and the officer next to me told him to get up and
       leave the area. He did not get up. Due to the evolving nature of push to disperse
       protestors, and the need for me to stay with my squad for my own safety, I walked past


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       the protestor and left him where he was. I did not see him again and did not use force on
       him.”); Ex. 41, p. 2 (“Our mission was to keep moving forward and there wasn't a lot of
       support near that area as resources were spread thin. Because I was concerned the subject
       was going to continue toward us and physically resist me moving him, I used less than a
       second of a burst of OC spray to the subject's facial area (the only intended target) and he
       turned away;

   •   “resisted” being pushed by police, Ex. 43, p. 2 (“I witnessed an unknown Officer
       pushing a female who was resisting the push. This unidentified female turned in my
       direction as if to avoid the push and continue resisting. I deployed OC with a one second
       burst to her head region. The unidentified female began to fall back at this time.”); Ex.
       44, p. 2 (officers “ordered to conduct a dynamic push against the hostile crowd, as I ran
       north on 2nd ave, I continuously yelled move and targeted 2 individuals in the crowd that
       refused to disperse. First subject was a mixed race female who was wearing a face mask.
       Sound truck gave repeated force warning, informing protestors they needed to leave or
       force may be used against them.” Officer sprayed OC sprayed this person and another in
       the face with the same exact justification, noting “[m]any other officers on the line
       alongside me were doing the same as me.”);

   •   rattled a fence, Ex. 45, p. 4 (“suspect, who was located on the other side of the fence,
       came up to the fence, began shaking it, and antagonizing officers by screaming and by
       not obeying the lawful order to leave the area […] I told suspect to leave the area, he
       refused […] I continually told the suspect the [sic] leave the area. Fellow officer’s [sic]
       did the same, waiting for him to respond each time, and reassing his level of compliance
       before again, telling the suspect to leave the area. After exhausting all options, I took aim
       and deployed my OC spray”); and,

   •   approached a police line or police car. Ex. 32, p. 2-3 (spraying someone who had
       “approached” the police line from 15 feet away); Ex. 46 , p. 3 (spraying a person
       “approaching” who was far enough away for the spray to only reach his chest and lower
       body); Ex. 47, p. 1 (officer sprays person approaching a police car, claiming person “was
       going to attempt to kick our car”).

FDCRs describe use of 40mm and FN303s on people who:

   •   allegedly engaged in a host of unspecified activity, including failure to disperse, Ex.
       48, p.4 (“I deployed an additional 40mm round at an unknown individual engaged in one
       of the following behaviors: active aggression, attempting to throw something at police,
       attempting to kick, throw, or otherwise interfere with RRT munitions, or failing to
       disperse despite lawful orders to do so. The deployment of a 40mm round was intended
       to protect myself and my squad, disperse the crowd, and prevent violence, injury, or
       property damage while avoiding a greater application of force. This deployment was
       authorized by PPB Directives 1010.00 as well as 635.10 Crowd Management in


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      accordance with ORS 131.675 Dispersal of Unlawful or Riotous Assemblies. Numerous
      loud, clear, force warnings had been given by the sound truck throughout the night stating
      those involved were subject to arrest and force including riot control agents and impact
      munitions. After being struck with the 40mm round the suspect did not continue to resist.
      After being struck the suspect retreated into the crowd or left the area. Therefore I was
      not able to make an arrest or request medical aid.”);



  •   yelled, cursed, or taunted the police, Ex 49, p. 1 (“One individual, who was wearing a
      yellow/white/black jacket with black pants was yelling "fuck you" to me and was not
      clearing out of the intersection as I verbally told him several times to move. He was
      approximately 20 yards away and was continuing to yell "fuck you" at me. He started to
      turn back towards me and the rest of my MFFs, so I deployed a single 40mm less lethal
      round, which struck him in the left calf area. The unknown male then started to walk
      away from us, northbound with the rest of his counterparts. We continued to push the
      group northbound when an RRT van passed us and began moving the group with
      flashbangs. […] Members of the protest had already thrown and launched items at
      officers; due to the aggression of the crowd and previous encounters I deployed my
      40mm less lethal to prevent this individual from possibly throwing items towards us, and
      to encourage him to vacate the area and move in the direction we were ordering them to
      leave in.”); Ex. 30, pp. 2, 3 (“Deployed FN rounds at subject who continued to turn
      towards police line, displaying active aggression and acting as if he was going to charge
      our line”; “Deployed FN rounds at subject who continued to turn towards police line,
      displaying active aggressive and acting as if he was going to charge our line […] yelling
      “fuck you” and other verbiage as to challenging police, displaying tensed body language
      and grabbing his crotch”); Ex. 48, p. 3-4 (“I observed a while male aggressively approach
      the fence line while yelling at officers and his hands up in a fighting stance. It appeared
      he intended to breach or climb the fencing. I deployed one 40mm round directed at his
      waistline” from a distance of 25 yards)(characterized as “active aggression”); Ex. 50, p. 2
      (describing officers trying to shoot someone with a 40mm who was behind a tree
      “taunting the officers by jumping out from behind the tree and then ducking back behind
      it”);



  •   based on pure speculation that an individual would engage in active aggression. Ex
      49, p. 1 (“The individual as part of a group was not clearing the intersection and was
      blocking all lanes of travel. The unknown individual did not follow orders and vacate the
      intersection to the north, but rather started to turn towards my MFF unit. Members of the
      protest had already thrown and launched items at officers; due to the aggression of the
      crowd and previous encounters I deployed my 40mm less lethal to prevent this individual



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       from possibly throwing items towards us, and to encourage him to vacate the area and
       move in the direction we were ordering them to leave in.”).

FDCRs describe use of batons on:

   •   people who passively resisted or failed to disperse, Ex. 52, p. 2 (“I told the subject to
       move north on SW Fourth Avenue but he did not leave. I shoved his back with my baton.
       He fell forward on his knees”),(“A tall white male, with one hand holding his bike
       refused commands to disperse. I pushed him with my baton. He looked at me and yelled
       some obscenities and would not disperse”) (characterized as “active aggression”); Ex. 53,
       p. 3 (“As I approached DOE I instructed him to "move" and he did not appear to be
       making an effort to leave the area. With one of my hands on each end of the baton, I used
       the pointed end to make contact with what I believe was DOE's torso while giving the
       instruction to "move." After making contact with DOE, he appeared to lose his balance
       and fell onto the sidewalk.”), Ex. 54, p. 2 (“I ran into the crowd giving loud continuous
       verbal commands (as I was trained) for the crowd to "move north". As I moved north on
       SW 2nd between Salmon and Taylor. I saw a protestor turn around and face me. Using
       my baton with two hands in a horizontal position I pushed the protestor to the north. The
       protestor turned and began a slow walk. I gave another verbal command and pushed the
       protestor again with my baton in the same manner.”); Ex. 55, p. 2 (“I used my RRT baton
       to push the subject back after he planted his feet in an attempt to not be moved. The
       subject took a few steps back and then planted his feet again. I delivered 4-5 pushes with
       my baton and 3-4 pushes with one hand before reaching the end of the block and the
       subject left the area.”); Ex. 56, p. 3 (using baton to “push[]” a protestor standing in the
       middle of the street “to try to convince him to move out of the area”); Ex. 57, p. 3 (“[A]
       woman in a light colored shirt walked toward me in direct opposition of what she had
       been directed to do. She was riling up the group, pumping her fist and saying something
       to the effect of ‘we don't have to do what they say.’ I performed a baton shove across her
       chest moving her back several steps.”); Ex. 58, pp. 1, 2 (using baton when “DOE walked
       slowly backward, stopping occasionally while facing officers and filming. It did not
       appear that DOE was making any effort to leave the area as instructed”); Ex. 59, p. 4 (“I
       encountered a thin white male with a brown backpack. He was bouncing around in front
       of me as if enjoying this time more like a party than a riot that it was. I perceived this
       purposeful and deliberate action to interfere as active resistance to our movements and
       determined that I needed to communicate the serious nature of our demands to leave. I
       pushed him with my hickory stick (mid back/ torso area) horizontally in an attempt to
       convince him to leave the area”); Ex. 60, p. 1 (“several members of the protest were not
       moving in the prescribed direction as ordered by the members of the squad and the loud
       speaker. These protestors were acting antagonistically and in defiance of police orders. I
       was forced to push several people with the flat portion of my baton.”); Ex. 31, p. 3 (“A
       younger, thin black male, approximately 5'11", wearing a light gray hooded sweatshirt
       and maroon sweatpant style pants was directly in front of me with his cell phone in front
       of both his face and my face. Instead of moving with the crowd, he continued to talk


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      either into his phone and not move. I gave additional orders to move and noted there was
      space to do so, as citizens in all directions were moving. I used my baton to drive into the
      subjects waist area with one push. The subject tried to verbally resist the movement, but
      was pushed backwards and remained on his feet.”); Ex. 61, p. 3 (“As we continued our
      push the majority of the crowd ran west bound on SW Jefferson; however, one white
      male continued to stand in front of our line and refused to move after I told him several
      times to move, as we continued I used my baton to push the male one time.”); Ex. 62, pp.
      3, 4 (describing four different accounts of using a baton against people who “refused to
      move” or “refused to disperse”); Ex. 63, pp. 3,4 (describing three difference incidents of
      using a baton against a Black man who “refused to move,” a white woman “who was
      yelling at officers and similarly refusing to move,” and a white male “who had his back
      turned from us, but was also not moving from the area”); Ex. 64, p. 3 (describing using a
      baton on someone who “was not moving with the crowd and had turned their back and
      stopped”); and

  •   people not moving quickly enough to the officer’s liking. Ex. 65, p. 1 (“Upon giving
      the subject a lawful command to move north on SW 4th Ave, he was intentionally
      moving at a slower pace than the rest of the crowd. It was at that point that I decided to
      push the subject with my PR-24 baton to move him forward with the rest of the crowd.”);
      Ex. 66, p. 2 (“The subject intentionally slowed so that officers would have to push him
      forward. I used by [sic] RRT baton and performed a two handed push on the subject at
      least one time”); Ex. 67, p. 2 (“A tall white male, about 6’2” wearing a dark coat, with a
      black backpack was refusing commands to disperse. He faced me, yelled something
      inaudible and then turned away. I shoved him with my baton against his backpack”); Ex.
      68, p. 2 (“As I approached DOE I instructed him to ‘move’ and he did not appear to be
      making an effort to leave the area. With one of my hands on each end of the baton, I used
      the pointed end to make contact with what I believe was DOE's torso while giving the
      instruction to ‘move.’ After making contact with DOE, he appeared to lose his balance
      and fell onto the sidewalk”); see also Ex. 56, p. 1 (describing a protestor who “was not
      leaving the area with any urgency or purpose. His wandering, as slow as he apparently
      could move, was an indication that he was trying to provoke an altercation with me and
      inhibit our objective of clearing the park. I took this to be active physical resistance
      against police.”); Ex. 69, p. 3 (“A female was walking with a black male and a white
      male with glasses. The female began to purposely walk slow to slow my progression
      forward. I told the female and the group to move or force would be used against them
      multiple times. The female began to shield the black male from me and continued to walk
      slow. I pushed the female with my baton 2-3 times in the back on top of her protective
      gear” and also noting ““I could have pepper sprayed the individuals I pushed but did not
      because it would have been difficult and unsafe to stow my baton away and then
      unholster my pepper spray.”).

      Each of every one of these FDCRs was approved by a supervisor. See infra.



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       The US Department of Justice and the Compliance Officer (“COCL”), entities engaged in

ongoing litigation with the City over PPB’s use of force, agree that the FDCRs describe force that

is transparently out of policy. In reviewing the PPB’s use of force last summer, they found that

“[s]ome of this force deviated from force policy, and supervisors frequently validated individual

uses of force with little or no discussion of reasonableness of the force used.” Albies, at Ex. 70, p.

5. They “found that many of PPB’s force reporting and review documents were insufficient to

show implementation of policies governing use of force, reporting, and investigation.” Id. at 16.

The DOJ and COCL noted that many FDCRs and After Action Reports revealed frequent lack of

investigation and analysis by officers’ force supervisors. Id.

                   2. EIS system fails

       The PPB also has an “Employee Information System” (“EIS”), an application that compiles

information from data sources, including FDCRs, to enable a comprehensive review of a member’s

work performance. Snider Dep. 18:17-19:25. The PPB holds EIS out as part of a larger

accountability system of the PPB, as it can help supervisors monitor, identify, and course correct

any potentially problematic patterns. Id., at 20:07-14, 25:05-11, 53:02-08. EIS tracks the amount

of force by a particular member, in numbers, in ratio to their arrests, and in relation to other sworn

members; these amounts can trigger either an automatic threshold “break,” or a manual “alert” by

the EIS administrator once they review the information. Id., at 33:13-24, 39:18-40:04, 40:23-

41:10. But, EIS counted only one force event for each FDCR, rather than an accurate accounting

of how much force was used on a particular night: so if an officer used 25 or 30 less lethal rounds

on a particular date, EIS would count that as one use of force. Id., at 110:01-07.

       The force data was gathered from FDCRs, and, as with the other aspects of the PPB’s

accountability system, is only as good as the information in it. Id., at 40:11-14, 50:19-20. EIS can



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track when an officer used more force than their colleagues on the same shift. Id., at 36:16-20.

Once an alert is made, it is forwarded to the officer’s reporting unit manager, who reviews it and

either closes it, or sends it to the officer’s supervisor. Id., at 43:9-20.

        Despite compiling all this information on use of force, the City did not use EIS to track

whether particular RRT members were using force at a rate greater than other RRT members in

the same shift. Id., at 75:24-76:13. Eventually RRT members’ use of force was compared with

their other RRT colleagues, but not until July. Id., at 37:20-38:18.

        D.      Lack of Any Discipline

        Even among American police departments, PPB is infamous in its complete lack of

accountability when it comes to disciplining officers who use excessive force. That lack of

accountability was on full display during the 2020 protests. PPB used force over 6,000 times during

these protests. Albies, at Ex. 70, p. 5; Bell Dep. 59:07-60:01. The City’s oversight agency, the

Independent Police Review (“IPR”), received over 4,000 individual items of feedback about

policing in general since the beginning of the protests: 107 of those were complaints about use of

force. Bell Dep. 61:01-62:01; Albies, at Ex. 71, Ex. 75. The City determined that almost all uses

of force were consistent with PPB training, including two instances for which this Court found the

City in contempt.

                1.      IPR and IA Process

        IPR is housed in the Auditor’s office, and Internal Affairs (“IA”) is the administrative

investigatory department of the PPB; IPR and IA are the only means by which officers can be held

responsible or accountable for violations of PPB’s use of force policy. Bell Dep. 32:23-33:05.

Investigations are initiated by complaints from community members, news stories,

announcements, tort claim notices, and legal actions. Id., at 27:09-14. Investigations can also be



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initiated by a bureau member. Id., at 29:14-20. None of the closed IA or IPR investigations

plaintiffs were given in discovery were triggered by another bureau member. Id., at 29:21-24. IPR

then decides whether to send the case to IA for investigation or to conduct it within IPR. Id., at

40:03-15. The Collective Bargaining Agreement with the Portland Police Association prohibits

IPR investigators from compelling officers, whether witnesses or subjects, to answer IPR

investigator questions. Id., at 46:11-17, 47:07-10.

       At the end of either the IPR or IA full investigation, the investigator makes recommended

findings, which go up the IPR chain of command, then to the officer’s reporting unit manager for

approval or review of the recommended findings, and then to the IA captain to make proposed

findings. Id., at 50:04-09, 16-51:11. The possible findings of full investigations are “unfounded,”

“exonerated,” “not sustained,” or “sustained.” Id., at 51:16-20.

       Some cases are “administratively closed,” which occurs most often after an intake

investigation; it does not mean that no misconduct or policy violation occurred, it just means that

the IPR could not make a finding based on the initial information it had, which includes inability

to identify an involved PPB officer. Caldwell Dep. 22:19-24, 29:12-22, Bell Dep. 151:19-24.

Administratively closed cases result in no discipline or accountability. Caldwell Dep. 22:11-15.

       The full investigations and administratively closed cases for protest related force

complaints that Plaintiffs were given access to were consistent with IPR and IA’s practices. Bell

Dep. 63:21-64:02, 65:03-08; Caldwell Dep. 21:04-09.

               2.      Administrative closures leave potential violations of PPB Directives
                       unchecked

       48 cases were administratively closed, 33 of which pertained to use of force during protests.

Caldwell Dep. 17:16-18:01. The vast majority of administratively closed cases were because IPR

could not identify an officer based on information it had. Caldwell Dep. 22:15-18. According to


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IPR, 10 were dismissed for “no misconduct”, 9 lacked investigative merit, 6 because the

complainant was unavailable, 5 were not PPB officers, 1 was an unidentified employee, 1 for

“other judicial remedy” and 1 because there was a third-party complaint. Albies, at Ex. 75.

       Some were dismissed as “no misconduct,” which means IPR determined there were no

policy violation even if the allegations were true. Caldwell Dep. 36:14-17. But, on closer

examination, this does not hold up. For example, IPR closed as “no misconduct” a case which

alleged PPB officers pointed weapons at the complainant and his young daughter while they were

in their car, tossed tear gas at individuals that did not appear to be doing anything, and were racing

back and forth not adhering to traffic rules. Caldwell Dep. 41:19-42:08, 43:16-22, 43:09-15.

Similarly, IPR closed a complaint as “no misconduct” where a person alleged PPB officers

deployed flash bangs (RBDD) at him and others in a crowd who were peacefully protesting,

causing eye pain and hearing loss, and for giving confusing and conflicting directions. Caldwell

Dep. 58:01-59:23, 60:02-22. IPR found PPB members gave adequate warnings based solely on

review of the FDCRs and did not interview any officers. Caldwell Dep. 65:09-25, 66:03-08.

       More importantly, IPR cannot hold individual officers accountable for violations of

Directive 635 or 1010 for use of tear gas, because the incident commander is responsible for

making the determination to use tear gas. Caldwell Dep. 52:07-14. IPR heard many complaints of

tear gas impacting children or someone’s home, but determined such conduct does not violate

directives. Caldwell Dep. 55:04-25. None of the investigations into use of force stemming from

the protests that plaintiffs were given access to involved incident command, i.e. rank of captain or

higher. Bell Dep. 22:04-12.

       Likewise, IPR administratively closed for “lack of investigative merit” a complaint that

PPB deployed tear gas on a few peacefully protesting individuals in a bunker-like stairwell.



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Caldwell Dep. 66:15-69:13, 70:13-16, 77:15-24. IPR’s initial investigation found, despite PPB

undisputedly deployed tear gas in the area, and despite specific allegations that PPB officers threw

the tear gas in the stairwell behind them, that IPR could not identify an individual officer and

therefore closed the case. Caldwell Dep. 72:05-73:07; 73:15-22, 75:01-76:24, 78:13-19.

               3.      IPR and IA did nothing, including for uses of force this Court has found to
                       violate Directive 1010

       Cases going through the full investigation process fare no better. The City found all49 uses

of force fully investigated by the City on the dates the court granted plaintiffs discovery within

policy and consistent with PPB training, including two instances for which the Court found the

City in contempt. Bell Dep. 72:05-17, 89:04-10, 91:10-95:09, 22-24; 116:17-117:19, 126:03-22,

128:23, 129:04-25, 142:21-143:07.

       The City found the specific uses of force the Court found to be basis of its contempt finding

(also subject to the court’s order on additional training) to be within policy and consistent with

PPB training, despite the standard of review employed by the IA investigator--preponderance of

the evidence--being lower than the clear and convincing standard applied by this Court. Bell Dep.

97:13-16, 22-98:21, 100:01-101:19, 102:01-103:08; 111:19-112:13, 114:20-23, 129:04-25,

130:01-09; 133:03-25-134:18, 135:23-136:08. The City had the same evidence as the Court,

including testimony that the conduct was consistent with PPB policy and training, testimony of

involved officers, and video evidence. Bell Dep. 99:01-24, 129:17-25, 136:14-137:07.




       49
          For some reason, the City separated out into two separate investigations for the same
use of force, one of which is still open. Bell Dep. 126:03-22, 127:08-19, 136:14-25. The City has
not disciplined any bureau members for using force in crowd control settings, for violating its
policies and training with respect to use of riot control agents and less lethal weapons, or for
using or approving force used in crowd control settings without a sufficient articulation of a
permissible justification. Caldwell Dep. 63:01-65:02, 17:24-19:02.

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       The City has little concern about making findings in direct contradiction to a federal court

judge. Bell Dep. 130:25-131:05, 137:08-16. In fact, the City affirms that despite additional training

ordered by the court clarifying that this incident violated PPB Directive 1010 and the existing

temporary restraining order, if the same incident happened today, the City would find the same

conduct to be within policy, consistent with Directive 1010. Bell Dep. 114:20-115:07.

               4.      IPR and IA are not going to do anything

       The City tells complainants that “IPR monitors all complaints involving Portland Police

Officers. The complaint is stored in a database that we use to analyze patterns of conduct as they

emerge over time. These reviews help us to improve the quality of police services to the

community in the long-term.” Bell Dep. 149:14-150:06. However, despite having authority to look

at patterns and trends as they emerge, IPR has not conducted any policy reviews related to the

protests. Caldwell Dep. 25:09-36:01, 27:03-07,50 28:17-23. IPR initiated a policy review of PPB’s

use of tear gas on June 30 in a North Portland residential neighborhood, it did not complete it.

Caldwell Dep. 27:16-19. According to IPR director Ross Caldwell, the directives make it

impossible for the City to hold individual people accountable for use of riot control weapons under

635. Caldwell Dep. 27:24-28:02.

V.     Plaintiff Nicholas Roberts

       Nick Roberts, grew up in the Portland metro area and attended many protests in Portland

from May through August of 2020 in support of Black Lives Matter and against the killing of

George Floyd. Decl. Nick Roberts ¶¶5, 9. During these protests, he never threw anything at police,




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          IPR will, however, as a result of agreement with the US DOJ, be conducting an
investigation into the PPB’s force response to the protests. Caldwell Dep. 27:07-15.

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did not light any fires, destroy or damage any property. Id. at ¶10. He did not engage in anything

beyond passive resistance. Id.

       On the evening of May 29, Roberts attended a protest in front of the Justice Center because

he wanted to support the Black Lives Matter movement and understood that the American policing

system was designed and operated to oppress Black people. Id. at ¶11. It was a chaotic scene, and

he joined a group of protestors in front of a line of police officers with their hands up, peacefully

protesting. Id. at ¶12. Roberts witnessed the PPB escalate the situation, using tear gas against the

crowd. Id. It was his first time experiencing tear gas and he was terrified; it was debilitating and

painful, blurring his vision and causing him to cough, and he and others were trapped between

officers and tear gas, unable to see or find a way out of the area. Id. As the crowd was attempting

to disperse, Roberts saw police with their backs to him, shooting 40 mm weapons at protestors

who were running away, hitting people a number of times in the back, including someone who

was stumbling while running away from the police. Id.; see also Roberts Decl. in Support of Pet.

for T.R.O. (“Roberts TRO decl.”), Dkt. 9, ¶14-19 (6/5/20).

       On May 30, similar to the night before, Roberts attended a protest at Chapman square.

Roberts, at ¶13. Even though he was afraid, he recognized that to allow police violence to continue

unwitnessed and unchallenged would continue the pattern of police violence against Black people.

Id. Roberts was peacefully protesting with large crowd in Chapman square, when again PPB

attacked the crowd with tear gas. Id.; Roberts TRO decl. ¶¶20-23. Roberts helped carry a person

who was having trouble walking as they tried to escape tear gas. Id. Roberts then regrouped with

other protestors, who were checking on and providing aid to each other. Roberts, at ¶13. Roberts

believes PPB also used RBDDs against protestors as well, throwing them at his feet -- the RBDDs




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are incredibly impactful, producing a booming and rattling physical sensation he could feel in his

entire body. Id.

       On June 2, Roberts attended a protest at Revolution Hall. Id. at ¶14. While walking home

later that night over the Burnside Bridge, he heard loud bangs and police sirens coming from

Pioneer Square. Id. He went closer to see if he could help anyone. Id. When he got there, he saw a

Black man with his hands up in front of a line of police, peacefully and verbally protesting. Id.

Roberts joined him, and the police began pushing them and other protestors forcefully out of the

square with their batons and throwing Roberts to the ground. Id. PPB also deployed tear gas that

night and used RBDDs to try to clear the area. Id. In addition, as Roberts was at most engaging in

passive resistance, PPB hit him with what felt like a spray of shrapnel, likely from an RBDD. Id.

He took a video that night, which documents PPB deploying approximately 15 RBDDs over the

course of 15 minutes. Id., see also Roberts TRO decl. ¶¶26-32.

       On June 5, Roberts attended another protest at Chapman square. Roberts, at ¶15. PPB gave

a dispersal order, and Roberts and others continued to passively resist by remaining in the square.

Id. PPB again deployed tear gas against the crowd, and after helping people who were injured by

the tear gas, Roberts returned to the square to continue his peaceful protest of ongoing police

violence. Id. Similarly, on June 7 and 26, Roberts was met again with RBDDs and tear gas for

engaging in passive resistance and peaceful protest. Id.

       On July 3, Roberts returned to Chapman square to peacefully protest the ongoing police

violence. Id. at ¶16. PPB again deployed tear gas, RBDDs, rubber bullets, and smoke grenades.

Id. Roberts later was pushed into the streetcar near Pioneer square when officers charged at the

crowd. Id. Two people were pushed onto the ground, and when Roberts reached down to help them

up, a PPB officer shot him with a rubber bullet twice in the leg from about 10 feet away. Id. This



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caused substantial pain and his leg became stiff. Id. He continued to try to help people get out of

the street. Id. As he was doing that, PPB launched another flash grenade at him; it bounced at his

feet and exploded a few feet way. Id. It created a terrible sensation that rattled in his chest and he

felt like his head was splitting apart. Id. Officers then used tear gas. Id. As Roberts was reaching

down towards a tear gas canister to throw it away from protestors and from the police, PPB shot

him in the hand with rubber bullets. Id.

       On August 21, Roberts was peacefully protesting at Irving Park, between 6 and 8 pm. Id.

at ¶18. The crowd marched up to North Precinct. Id. PPB again deployed tear gas at the crowd

after a dispersal announcement. Id. The police then followed protestors into the nearby residential

neighborhood, firing more tear gas and bull rushing the crowd with shoves and batons. Id. Roberts

at one point had his arms around an older woman, trying to keep her from being knocked over by

the police rushing the crowd. Id. He was at back of the line with people who were unable to run.

Id. After this, he walked back to the precinct to continue his peaceful protests against ongoing

police violence and was again tear gassed. Id.

       On or about August 22, the Proud Boys held a demonstration against the Black Lives

Matter movement in Portland in Lownsdale Park. Id. at ¶19. The Proud Boys supporters were

aiming guns and weapons at the Black Lives Matter demonstrators, with PPB just standing by. Id.

After the Proud Boys supporters left, PPB moved Black Lives Matter demonstrators out of the

park. Id. As protestors were going back towards the Justice Center, PPB began firing FN303s in

the trees above the protestors, raining down pepper balls on people. Id. Roberts was struck on the

back of the arm by a munition, which left a sizable bruise. Id. Roberts also protested at North

Precinct on the corner of MLK and NE Emerson St. Id. PPB again deployed tear gas and rushed




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the crowd with baton shoves, shoving people with their large plastic shields while people were

scrambling from the tear gas. Id.

       On August 28, 2020, Roberts again ventured out to peacefully protest against police

violence. Id. at ¶20. This time, however, he stood a bit back, because he thought police would push

and gas people again, and he could be in a better position to help people when that happened. Id.

Despite being further away, he was still impacted when PPB deployed tear gas that night. Id.

Roberts was able to hand out water to people impacted. Id.

       Roberts attended several other protests, with largely the same experience of tear gas,

RBDDs, and impact munitions. Id. at ¶21. While he thinks it is incredibly important to speak out

and protest police violence, the PPB’s response to the protests was terrifying. He still thinks about

these protests, and it has impacted his mental health, and he is still fearful of protesting and large

crowds. He was impacted by watching livestreams of the protests after he stopped attending,

because he remembered the fear of being there. Witnessing all this violence has negatively

impacted Roberts’ ability to protest and exercise his First Amendment rights. Id. at ¶23.

VI.    Plaintiff Michelle “Misha” Belden

       Misha Belden has lived in Portland since 2017. Decl. Belden ¶9. Belden works as an event

and welcome desk coordinator at a nonprofit. Id. Belden attended their first protest on May 29,

2020. Id. at ¶5. Belden also attended protests in 2020 on the evening of June 2nd to early morning

of June 3, June 9, June 10, on or about June 12, August 10, and September 5. Id. at ¶10.

       Mx. Belden has personally experienced tear gassing on a number of occasions. Id. at ¶11.

Generally, Belden experienced asphyxiation, pain in their eyes, nose, and lungs, significant

coughing and mucus from their nose, and the feeling of wanting to vomit. Id. These symptoms

persisted for up to an hour. Id. Tear gas has also disrupted their menstrual cycle. Id. Belden’s



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conduct at protests during the applicable class period never rose above “passive resistance,” and

they carried a medic bag at every protest. Id. at ¶12. They were tear gassed nonetheless. Id. While

the effects were not as severe as being present when the tear gas was deployed, living near the

Penumbra Building in East Portland exposed Belden to tear gas from their house. Id. Belden

experienced tear gas a majority of the nights they protested in Portland. Id. Belden felt discouraged

by PPB’s indiscriminate use of force at protests, and this made them fear attending future protests.

Id. at ¶¶13-14.

       On the evening of June 2, Belden marched to a point near Third and Salmon in Downtown

Portland around 7:00 pm. Id. at ¶15. The crowd was peaceful. Id. They did not confront the police,

just a fence. Id. PPB announced that people should “clear the fence.” Id. Then suddenly and

without warning, PPB began launching explosives and tear gas into the crowd. Id. One went off

next to Belden and they ran away. Id. While Belden tried to get away from the tear gas, PPB

continued to tear gas any crowd it saw “indiscriminately.” Id. Belden also witnessed “flashbangs”

being used indiscriminately. Id.

       On the night of June 9, Belden arrived downtown by Chapman square on Third and Main

by the Justice Center at around 9:00 pm. Id. at ¶16. Belden stayed there until around 1:00 am. Id.

They saw a fence surrounding the parks. Id. The crowd outside the Justice Center was peaceful

save for a few people rattling the fence. Id. At around midnight, the crowd dwindled but remained

peaceful, and then without warning PPB fired flashbangs and chemical irritants into the crowd. Id.

The tear gas formed a thick fog. Id. Belden ran away, while PPB continued to fire tear gas and

flashbangs. Id.

       On the night of June 10, Belden arrived downtown at around the same time and location as

the night before. Id. at ¶17. Once again, the crowd was peaceful. Id. Some people did go inside the



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fenced in area to streak naked in defiance of the closing of the public area. Id. Once again, PPB

retaliated with tear gas and flashbangs. Id. Belden also experienced a second salvo of OC spray

and flashbangs. Id.

       On the night of June 12, Belden arrived downtown at around 8:00 pm. Id. at ¶18. Again,

the entire protest crowd peacefully gathered by the fence and got tear gassed after rattling the

fence. Id. By this time, Belden had decided to keep further away from the fence but felt the effects

of tear gas nonetheless. Id.

       On the night of August 10, Belden arrived in a park near the North Precinct in NE Portland,

and marched there at around 10:00 pm. Id. at ¶19. PPB’s chemical munitions were again deployed,

this time by residential neighborhoods. Id.

VII.   Plaintiff Alexandra Johnson

       Plaintiff Alexandra Johnson is 29 years old. She has lived in Oregon since she was 5 years

old, and in the Portland area since 2010. Decl. Alexandra Johnson, at ¶9.

       Johnson attended Portland protests against white supremacy and police violence in the

wake of the murder of George Floyd by Minneapolis police because Black Lives Matter and she

wants to make her community safer and more equitable. Id. at ¶11. She believes that her BIPOC

friends should not have to fear for their safety and lives when they leave a summer barbeque at my

house and go home or when they are doing any other daily activity. Id. She protests because we

all deserve something better than our current police structure. Id. She estimates she attended 45 to

65 protests between May 31st and November 2020. Id. at ¶5.

       The first protest she attended in the wake of George Floyd’s murder by police was on May

31, 2020. Id., at ¶5. Incidents where she was injured or otherwise exposed to indiscriminate

violence and use of chemical agents and impact munitions by PPB include June 5, June 6, June



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10, June 13, June 27, June 28, July 4, August 1, August 4, August 5, August 7, August 8, August

9 August 12, August 15, August 22 or 23, and September 5, 2020. Id., at ¶14-32.

       She livestreamed events on Facebook through June 2020, and on Twitch after that. Id. at

¶12. She felt it was important to document and share what happened at the protests. Id. At no point

during any protest did she throw an object at the police. Id. at ¶10.

       Throughout the protests, Johnson consistently observed PPB deploy what she calls

“flashbangs” at protestors. Id. at ¶13. She understands flashbangs are explosives that cause a loud,

bone-rattling explosion that is disorienting and causes minor temporary hearing loss and has a very

bright flash, and that RBDDs are a type of flashbang. Id. She understands that PPB may refer to

these explosives as “aerial distraction devices.” Id. Throughout the protests, she witnessed PPB

officer use over 150 flashbangs. Id.

       On June 5, she attended a protest outside the Justice Center, arriving about 11:00 P.M. Id.

at ¶14. About ten minutes after she arrived, “PPB fired eight tear gas canisters into the area of 3rd

and Main, blanketing most of Chapman Square in tear gas.” Id. PBB fired the canisters from 40

mm launchers and threw some by hand. Id. It was the first time Johnson was ever exposed to tear

gas; she ran with other protestors away from the gas, and her throat immediately closed up and her

nose started running. Id. Gas was on her hands, burning her face whenever she touched it Id. She

saw a woman and her child walking down the sidewalk covering their eyes and mouths Id.

Protestors panicked because many had never been tear gassed before, and they did not know

“which way to exit or which way safety was.” Id. at ¶15. Protestors regrouped at Third and Main,

chanting and singing for ten minutes before PPB fired another six or seven tear gas canisters,

pushing protestors towards Pioneer Square. Id. Johnson was hit in the thigh by a ball from an

RBDD around this time Id. About twenty minutes later, and Ms. Johnson and other protestors



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walked south on Fourth Avenue, PPB officers on a riot van “unloaded another tear gas canister off

of the truck” from “at least 20 to 30 yards away” from protestors Id. Protestors later continued to

Madison between Third and Fourth Avenues, where they stayed and chanted for ten minutes before

PPB threw “tear gas flashbangs” into the group. Id. at ¶16. As Johnson backed away from the

group, a tear gas canister hit her in the chest then exploded under her feet, releasing the gas into

her nose, eyes, skin, and hair. Id. The canister hit her with enough force that she believes it came

from a 40 mm launcher. Id. Protestors panicked and trampled each other. Id. PPB launched 54

canisters that night Id. Her partner of eight years went to one protest and never came back because

of the violence and indiscriminate use of force he saw PPB use on June 5. Id. at ¶17.

       On June 6, she attended a protest outside the Justice Center. Id. at ¶18. She saw PPB

officers deploy a flashbang so close to a protestor that it exploded underneath her feet. Id. This

appeared to trigger a PTSD episode or panic attack in the protestor, who immediately began crying

and hyperventilating and lost her hearing. Id. Johnson helped her to the side and down the street

and stayed with her for a few moments to calm her. Id.

       On June 10, she attended another protest outside the Justice Center. She witnessed PPB

officers shooting FN303s at protestors on the other side of a fence about 50 to 70 feet away,

including one munition that exploded against a protestor near her, its fragments hitting her face.

Id. at ¶19. She was also exposed to several flashbangs that PPB deployed that night. Id.

       On June 12, Johnson attended another protest outside the Justice Center, arriving between

10:00 and 10:30 PM. Id. at ¶20. She brought a shield she made out of “old cabinet wood” to protect

herself and others from PPB’s “indiscriminate shooting and explosions.” Id. Around midnight,

PPB started deploying flashbangs into a crowd of protestors “chanting, singing, drumming, yelling

grievances.” Id. Fifteen to twenty PPB officers lined up and pushed protestors north on Fourth



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Avenue Id. Johnson was 20 to 25 feet away from them when officers yelled, “Move!” Id. She

turned to move in the direction they were moving. Id. Two PPB officers then tackled her to the

ground and hit her in the back of the legs twice with a baton. Id.

       On June 27, Johnson attended another protest outside the Justice Center. Id. at ¶21. PPB

shot her with an FN303 projectile somewhere north of Sixth and Main. Id. The munition hit her in

the outside of the left thigh, leaving powder on her pants and an apple-sized bruise that lasted two

weeks. Id. She also felt ricochets of FN303 projectiles used against other protestors and witnessed

protestors hit in the face with batons and OC sprayed. Id. That night, she also witnessed a PPB

officer wrench a protestor away from a group standing still, spray them directly in the face with

OC spray, and tackle them to the ground. Id. at ¶22. Shortly after that, a flashbang exploded in the

middle of the crowd, beneath her feet. Id. Through that night, she saw officers use their batons to

knock down protestors, shooting them with impact munitions while they were on the ground, and

make no attempt to arrest them. Id. at ¶23. At one point, she saw a young Black man walking

backward with his hands up when a PPB officer sprayed him directly in the face with OC spray.

Id. at ¶22. She also saw a PPB officer strike a protestor in the face with a baton. Id.

       On July 4, Johnson attended another protest at the Justice Center, arriving around 8:30 PM.

Id. at ¶24. A law enforcement agency shot tear gas into Chapman Square and Lownsdale Square,

forcing protestors to Sixth Avenue. Id. PPB then used tear gas on protestors. Id. PPB chased

protestors several blocks and used tear gas again near Second Avenue. Id. PPB used 10 to 12

canisters, both hand-tossed and with launchers. Id.

       On August 1, she attended a protest at the Penumbra Kelly Building. At one point, as PPB

officers herded protestors down the street, she saw an officer sprint out of the police line, grab a

protestor from behind, turn them around, spray them directly in the face with OC spray, and throw



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 them to the ground without arresting them. Id. at ¶25 . When she went over to help the protestor,

 another PPB officer shoved her to the ground. Id.

        Throughout the month of August, Johnson attended many more protests, experiencing and

 witnessing unprovoked violence at the hands of PPB. Id. at ¶¶25-31.

        On September 5, Johnson attended a protest near Ventura Park in east Portland, arriving at

 6:00 or 7:00 PM. Id. at ¶32. The protest inside the park included speeches, food, dancing, singing,

 and mutual aid activities. Id. Protestors marched to a nearby police precinct, and PPB quickly

 declared an unlawful assembly. Id. At that point, she had not seen any violence or objects being

 thrown at officers. Id. Soon after, PPB deployed 20 to 30 tear gas canisters at protestors, both by

 hand-tossing and with 40 mm launchers. Id.

        Ms. Johnson believes there are causes that justify putting oneself at risk to create larger

 social change, and she would consider going to protests in the future. Id. at ¶ 34. However, the

 police violence she has witnessed makes her hesitant to have future interactions with police, and

 PPB’s use of force will be a factor when she determines whether to attend future protests. Id.

VIII.   Plaintiff Lester Wrecksie

        Lester Wrecksie is 45 years old and has been a Portland resident for approximately four

 years, including during the summer of 2020. Decl. Lester Wrecksie, at ¶5. He has a Bachelor’s

 Degree in Studio Art, and most recently has been employed as an Operations Lead in a business

 advertising department for the past nine years. Id. at ¶11.

        Following the murder of George Floyd on May 25, 2020, Wrecksie attended multiple

 demonstrations in support of Black Lives Matter and against police brutality. Id. at ¶¶6, 12.

 Wrecksie attended these demonstrations because of his support of the Black Lives Matter




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movement and his opposition to the PPB and other police violence against Black people in Portland

and across the world. Id. at ¶6.

       Wrecksie attended numerous protests, including a majority of the nightly protests in June

2020. Id. at ¶12. At the beginning of protests in early June, he occasionally carried protest signs

expressing: “Black Lives Matter,” “Free Palestine,” “End Apartheid,” “Fuck 12,” “Melt ICE” and

occasionally carried an umbrella which he had embellished in hot pink and glitter the messages

“BLM” and “ACAB.” Id. at ¶13. He also regularly engaged in protest call-and-responses and

chants including, “Black Lives Matter,” “say their name” chants about victims of police violence,

“fuck 12” and “all cops are bastards.” Id. At no point at any time at any of the protests did Wrecksie

ever throw anything at the police, light any fires, engage in any property destruction, or other

otherwise engage in any acts beyond passive resistance. Id. at ¶14.

       On June 20, around 7:00pm or 8:00pm, Wrecksie attended a protest at the Justice Center.

Id. at ¶15. He joined other demonstrators who were standing or sitting on Third Avenue in front

of the building and brought with him his bicycle, which he had used to get to the area and which

was his main form of transportation. Id. That evening, Wrecksie heard PPB make an announcement

listing city street names and saying words to the effect that downtown was closed, and to leave the

area. Wrecksie stood where he was in peaceful protest. Id.

       Then, uniformed officers, believed to be PPB based on the earlier and continued

announcements, came down the street where Wrecksie and other protestors were standing. Id. at

¶16. PPB’s announcements around that time continued, including, “this is the Portland Police

Bureau” and to leave the area “or you [demonstrators] will be subject to arrest and use of force

including crowd control munitions.” Id. at ¶16; Bruggemeier, at ¶ 11, Ex. J. Wrecksie walked his

bike with the crowd down Third Avenue as instructed by the police. Id. at ¶16. He noticed an older



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Black gentleman remained seated on the ground in the middle of street and approached him,

leaning over his bicycle to ask the man if he wanted anyone to stay with him, because Wrecksie

was concerned for his safety at the hands of police. Id. During their conversation, while Wrecksie

was facing north and away from the police, police shot a flashbang grenade which hit him and

explored on or near him. Id.; Bruggemeier, at ¶ 11, Ex. J. Wrecksie suffered a concussion and fell

unconscious as a police officer wrenched his bicycle out of his hands. Id.

       When he regained consciousness, other protestors were dragging Wrecksie on the ground

towards Chapman Square in an attempt to get away from the police. Id. at ¶18. Police officers

blocking off the area from Fourth Avenue, and multiple officers subjected Wrecksie to multiple

baton strikes, hitting him and others indiscriminately while yelling, “move, move, move” even

though he and other members of the crowd were already moving. Id.

       On June 30, 2020, around 5:00pm or 6:00pm, Wrecksie attended a protest, first meeting at

Peninsula Park in the early evening to listen to speakers and musical performers, and then marching

to the Portland Police Association (“PPA”) building on N Lombard Street. Id. at ¶20. That day,

Wrecksie wore roller skates, knee pads, a leopard-print helmet, a backpack, blue jeans, and a blue

floral handmade Covid mask. Id. at ¶21.

       Shortly after Wrecksie arrived on Lombard near the PPA building, PPB announced that the

gathering was unlawful, and the protestors were to disperse. Id. at ¶22. After the announcement,

Wrecksie sat down on the ground in peaceful protest. Id. He tried to encourage others to do so as

well, but they were terrified and did not join him because the line of police were quickly advancing

on the crowd of protestors. Id. Fearful of being trampled, Wrecksie stood up and helped his friend

and others turn their bicycles around in order to retreat with the crowd. Id. Wrecksie moved east




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with the crowd, as the police continued to advance and push members of the crowd east on N

Lombard St. Id.

       As members of the crowd continued to move, Wrecksie saw people near the police line

holding a banner. Id. at ¶23. Those holding the banner walked backwards, and their banner which

read “ABOLISH THE P.P.B.” faced the PPB officers. Id. at ¶23; Dkt. 150 (Decl. Matthew

Cleinman, Ex. 1). Wrecksie rolled to them and helped carry a part of the banner while continuing

to move east, with his back was facing the police. Id. PPB officers yanked Wrecksie’s backpack

multiple times, and he felt a stinging sensation in his face and eyes as if he had been pepper

sprayed. Id. Wrecksie lost his balance and fell. Id. Officer Taylor shot him multiple times with

FN303 munitions. Id.

       Prior to getting shot by PPB, Wrecksie had been holding the banner, facing east, and

moving east in compliance with the police’s instructions. Id. at ¶24. He was not engaged in any

conduct beyond passive resistance. The weapons struck Wrecksie’s back hip, around his backpack,

and his leg around his ankle, and caused multiple bruises. Id. at ¶25. Other demonstrators pulled

Wrecksie up off the ground and through the crowd where he was able to continue to move east on

Lombard. Id. at ¶26. That evening at the protest, Wrecksie was also subjected to PPB’s use of

flashbang grenades and tear gas. Id. at ¶ 28.

       On at least two other occasions in June 2020, Wrecksie was subjected to additional use of

flashbang grenades. Id. at ¶29. One occasion was when Wrecksie was leaving a protest down SW

Main Street, he was hit in the ankle by a flashbang grenade which had bounced and exploded while

Wrecksie was running away from the area in compliance with police instructions. Id. On other

occasion, Wrecksie experienced a flashbang grenade bounce off of his helmet. Id.




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       PPB also subjected Wrecksie to baton strikes. Id. at ¶31. On one occasion at a protest near

the PPA building on N Lombard Street, Wrecksie followed police’s instructions to move to the

sidewalk. Id. But once he complied and was on the sidewalk, police came to the sidewalk and

started shoving him and others with batons to forcefully move them down the block. Id. He

witnessed and experienced numerous similar incidents, where the police hit him and other

demonstrators with batons to get them to move, even when the crowd was complying but not able

to move as quickly as the police’s batons dictated. Id.

       In addition to the incident on June 30, PPB subjected Wrecksie to tear gas on multiple other

occasions. Id. at ¶33. One occasion was during the evening when Wrecksie was attending a protest

downtown on Salmon Street. Id. Wrecksie recalled the street being “fogged completely over” with

green smoke in the area. He tried to escape the area but people around him were also choking and

“running blind.” Id. When Wrecksie eventually made it out of the worst of the tear gas, near Fifth

Avenue, he was forced to take off his fabric covid face mask and vomited in the street. Id. Wrecksie

suffered similar experiences during many protests in June and July 2020, including in residential

neighborhoods. Id.

       Witnessing and experiencing PPB’s violent response to the demonstrators has made

Wrecksie wary of attending another demonstration. Id. at ¶37. He now has to weigh exercising his

rights with facing additional trauma at the hands of the police. Id. PPB’s conduct has negatively

impacted his ability to protest and exercise his First Amendment rights. Id.

IX.    Plaintiff Thomas Drier

       Thomas Dreier is a 34 year old who was born and grew up in Portland. Decl. Thomas

Dreier, at ¶9. He is a musician who, during 2020, played acoustic guitar and sang at protests and

with a group called the Good Troubles. Id. Between May 25, 2020 and November 15, 2020, he



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estimates he attended two to three protests per week for a total of at least 15 and up to 48 protests.

Id. at ¶5. He did not start attending protests until a month or two after George Floyd’s death, as he

was concerned about potential exposure to COVID-19. Id.

        On August 6, 2020, Dreier attended a protest that ended at Ventura Park in Southeast

Portland. Id. at ¶11. That night, a riot van of PPB officers drove by Dreier and others passively

protesting the police and standing on the sidewalk. Id. Dreier was on the sidewalk playing his

guitar when a PPB officer riding on the side of the riot van shot a 40 mm round at him, hitting the

neck of his guitar. Id. The officer shot at him just as the van was leaving, in what appeared to be a

“parting blow.” Id. Dreier was not throwing anything at police when they shot at him, and nor did

he observe anyone near him throwing objects. Id. After police shot his guitar, Dreier “retreated

into the park to a safe spot” where he thought police “wouldn’t continue shooting at” him, and

recorded video of the damage to his guitar and recounted the incident. Id. at ¶12. The 40 mm

impact round left green chalk on the neck of the guitar. Id. at ¶12, 15.

        On the evening of August 15, 2020 and into the early morning of August 16, Dreier

attended a protest that began at Laurelhurst Park and marched to the Penumbra Kelly Building. Id.

at ¶13. By his estimation, Dreier stayed with the crowd of protestors in front of the building for at

least two hours before Portland Police again shot a 40 mm round at him. Id. He does not recall

seeing protestors throw objects at the police that night or whether a sound truck gave orders to

protestors. Id.

        That night, Dreier saw a PPB officer approach a protestor standing on the sidewalk and

choke the protestor with his hands, pushing him against a wall. Id. at ¶14; Bruggemeier, at ¶22,

Ex. U (video of full incident). The officer “didn’t seem to be going through the motions of arresting

the protestor, he seemed to just be brutalizing him.” Id. To protest that officer’s actions, Dreier



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“casually strolled” to about six feet from the officer and began to play the Woody Guthrie song,

“All You Fascists Bound to Lose.” Id. The officer then turned his attention to Dreier and ripped

the guitar from his hands. Id. The officer walked away with the guitar, and Dreier followed him

into the street, asking for the guitar back. Id. Two other officers ordered Dreier back onto the

sidewalk, and he complied. Id. When he got back on the sidewalk, a PPB officer shot him in the

upper thigh with a 40 mm round. Id. The impact round bounced between his thighs, causing both

to bruise. Id. at ¶14, 16. Dreier collapsed to the ground. Id. at ¶14. The impact round left green

chalk where it struck him. Id.

        Dreier has not thrown any objects, lit fires, or graffitied property during any protest he

attended, with the exception of once underhanding a water bottle over a fence in front of the federal

courthouse without intending to hit anyone, sometime between July and September 2020. Id. at

¶10. While Dreier intends to continue protesting police violence and supporting the Black Lives

Matter movement, PPB’s use of force has impacted his mental health, and he took days off from

protesting to recover and because he could not always face consecutive nights of PPB’s violence.

Id. at ¶19.

                                            ARGUMENT

        Plaintiffs have satisfied their burden to certify the class as requested. The Court is not alone

in addressing these issues because plaintiffs are not the only people in the country that responded

to the 2020 campaigns of police violence with lawsuits. See, e.g., Williams v City of Minneapolis,

Case 0:20-cv-01303 (D. Minn.); Goyette v. City of Minneapolis, Case 0:20-cv-01302 (D. Minn.);

Williams et al v. City of Dallas Texas et al, Case 3:20-cv-01526-L (N.D. Tex.); Ballew v. City of

Chicago, Case 1:20-cv-03422 (N.D. Ill.); Black Lives Matter Seattle-King County et al v. City of

Seattle, Case 2:20-cv-00887-RAJ (W.D. Wash.); Black Lives Matter Los Angeles v. City of Los



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 Angeles, Case 2:20-cv-05027 (C.D. Calif.); Abay et al v. City of Denver, Case 1:20-cv-01616-

 RBJ (D. Col.); Anti-Police Terror Project v. City of Oakland, Case 3:20-cv-03866 (N.D. Calif.);

 Gaffett v. City of Oakland, et al., 3:21-cv-02881 (N.D. Calif.); Black Lives Matter v. City of

 Indianapolis, Case 1:20-cv-01660 (S.D. Ind.). Of those, only one has substantively litigated class

 certification. See Anti-Police Terror Project, Dkt. No. 124 (Order Denying Motion for Class

 Certification Without Prejudice). While Judge Spero denied plaintiffs’ motion for class

 certification in that case, he made clear that if the plaintiffs were to amend their motion to limit

 the class in precisely the ways that plaintiffs here have limited their class, he would certify the

 class. Id. The parties have since stipulated to class certification. Id. at Dkt. No. 139. Judge Spero’s

 order is a useful starting point for analyzing the issues presented here.

I.       Plaintiffs Satisfy the Requirements of FRCP 23(a)

         A proposed class must meet the four threshold requirements of Federal Rule of Civil

 Procedure 23(a): numerosity, commonality, typicality, and adequacy of representation. Fed. R.

 Civ. P. 23(a); Leyva v. Medline Indus. Inc., 716 F.3d 510, 512 (9th Cir. 2013). Plaintiffs’ proposed

 class satisfies all four Rule 23(a) prerequisites.

         In the present case, Plaintiffs seek certification under Rule 23(b)(2), which requires that

 “the party opposing the class has acted or refused to act on grounds that apply generally to the

 class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting the

 class as a whole.” Fed. R. Civ. P. 23(b)(2).

         Although in some cases the court may have to “probe behind the pleadings” to determine

 whether the plaintiffs have met the requirements of Rule 23, “[m]erits questions may be considered

 to the extent—but only to the extent— that they are relevant to determining whether the Rule 23




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prerequisites for class certification are satisfied.” Amgen Inc. v. Conn. Ret. Plans & Trust Funds,

568 U.S. 455, 466 (2013) (citations omitted).

       Courts in the Ninth Circuit and elsewhere have certified (b)(2) classes seeking injunctive

relief on behalf of protestors injured by police. See, e.g., Multi-Ethnic Immigrant Workers Org.

Network v. City of Los Angeles, 246 F.R.D. 621 (C.D. Calif. Dec. 14, 2007) (hereinafter

“MIWON”); Chang v. United States, 217 F.R.D. 262 (D.D.C. 2003); Washington Mobilization

Committee v. Cullinane, 400 F. Supp. 186 (D.D.C. 1975); Sullivan v. Murphy, 478 F.2d 938 (D.C.

Cir. 1973). As the MIWON court recognized: “As a general matter, less precision is required of

class definitions under Rule 23(b)(2) than under Rule 23(b)(3), where mandatory notice is required

by due process. Manageability is not as important a concern for injunctive classes as for damages

classes.” 246 F.R.D. at 630.

       A.      The Proposed Class Is Numerous so Joinder of All Members Is
               Impracticable

       The numerosity requirement is met when “the class is so numerous that joinder of all

members is impracticable.” Fed. R. Civ. P. 23(a)(1). Numerosity has been held presumptively

satisfied when a proposed class comprises forty or more members. See, e.g., Oregon Laborers-

Employers Health & Welfare Trust Fund v. Philip Morris, Inc., 188 F.R.D. 365, 372 (D. Or. 1998);

In re Cooper Co. Inc. Sec. Litig., 254 F.R.D. 628, 634 (C.D. Cal. 2009). The class here is many

orders of magnitude larger. In the months since George Floyd’s death and the protests opposing

police violence and white supremacy began, thousands of people have engaged in protests.

Plaintiffs readily meet this standard.

       Plaintiffs here do not need to identify a precise number of class members in order to be

granted class certification. “Where a plaintiff seeks ‘only injunctive and declaratory relief, the

numerosity requirement is relaxed and plaintiffs may rely on reasonable inferences arising from


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plaintiffs’ other evidence that the number of unknown and future members is sufficient to make

joinder impracticable.’” Saravia v. Sessions, 280 F. Supp. 3d 1168, 1203 (N.D. Cal. 2017) (quoting

Civil Rights Educ. & Enf’t Ctr. v. Hosp. Props. Tr., 317 F.R.D. 91, 100 (N.D. Cal. 2016)), aff’d,

867 F.3d 1093 (9th Cir. 2017). Similarly, “a court may draw a reasonable inference of class size

from the facts before it.” Lynch v. Rank, 604 F. Supp. 30, 36 (N.D. Cal. 1984), aff’d, 747 F.2d 528

(9th Cir. 1984), opinion amended on reh’g, 763 F.2d 1098 (9th Cir. 1985).

        Moreover, given the chaotic environment caused by the COVID-19 pandemic, the protests,

and the resulting civil unrest, future class members also exist. The existence of future class

members renders joinder impractical, thereby satisfying the purpose behind the numerosity

requirement. See, e.g., Ali v. Ashcroft, 213 F.R.D. 390, 408-09 (W.D. Wash. 2003) (“[W]here the

class includes unnamed, unknown future members, joinder of such unknown individuals is

impracticable and the numerosity requirement is therefore met, regardless of class size.” (quotation

marks omitted)), aff’d, 346 F.3d 873 (9th Cir. 2003), vacated on other grounds, 421 F.3d 795 (9th

Cir. 2005); Smith v. Heckler, 595 F. Supp. 1173, 1186 (E.D. Cal. 1984) (noting that in injunctive

relief cases, “[j]oinder in the class of persons who may be injured in the future has been held

impracticable without regard to the number of persons already injured”). Numerosity is satisfied

here.

        Based on all of the evidence presented above, thousands of people showed up to protest in

the wake of the murder of George Floyd and were subjected to violence by the City. Even if one

were to take a single night where PPB used tear gas, June 2, even the PPB members’ own estimates

of the size of crowds they used tear gas on easily meet the numerosity standard. There can be no

serious dispute that the number of people in plaintiffs’ proposed indiscriminate weapons sub-class

meets the numerosity requirement. With respect to the use of less-lethal weapons, plaintiffs have



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provided evidence from a) protestor witnesses actually harmed by these weapons, b) neutral

observers estimating the number of people they saw harmed by these weapons, and c) the police

reports themselves, describing using these weapons against people engaged in passive resistance.

Any one of these categories of evidence standing alone would be sufficient to show that numerosity

is met.

          B.     The Commonality Standard is Met

          The second threshold to certification requires that “there are questions of law or fact

common to the class.” Fed. R. Civ. P. 23(a)(2). To satisfy this element, the plaintiff must allege

a common contention “of such a nature that it is capable of class-wide resolution—which means

that determination of its truth or falsity will resolve an issue that is central to the validity of each

one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). In

other words, “[w]hat matters to class certification is not the raising of common ‘questions’ — even

in droves — but rather, the capacity of a classwide proceeding to generate common answers apt to

drive the resolution of the litigation.” Id. (internal marks and citation omitted; emphasis in

original). This commonality requirement “has been construed permissively.” Giles v. St. Charles

Health Sys., Inc., 294 F.R.D. 585, 590 (D. Or. 2013) (quoting Hanlon v. Chrysler Corp., 150 F.3d

1011, 1019 (9th Cir. 1998)). A plaintiff “need not show . . . that every question in the case, or even

a preponderance of questions, is capable of class wide resolution.” Parsons v. Ryan, 754 F.3d 657,

675 (9th Cir. 2014) (quotation marks omitted). Rather, a “single significant question of law or

fact” satisfies the commonality requirement. Abdullah v. U.S. Sec. Assoc., Inc., 731 F.3d 952, 957

(9th Cir. 2013) (quotation omitted and emphasis in original); see also, Mazza v. Am. Honda Motor

Co., 666 F.3d 581, 589 (9th Cir. 2012) (noting that “commonality only requires a single significant

question of law or fact”).



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       The existence of “shared legal issues with divergent factual predicates” is sufficient to

satisfy Rule 23(a)(2). Hanlon, 150 F.3d at 1019; see also Jimenez v. Allstate Ins. Co., 765 F.3d

1161, 1165 (9th Cir. 2014) (applying this rule post-Dukes).

       Indeed, in civil rights suits such as this one, “commonality is satisfied where the lawsuit

challenges a system-wide practice or policy that affects all of the putative class members. Under

such circumstances, individual factual differences among class members pose no obstacle to

commonality.” Parsons, 754 F.3d at 682 (quoting Rosas v. Baca, 2012 WL 2061694, at *3 (C.D.

Cal. June 7, 2012)); Murphy v. Precision Castparts Corp., 2018 U.S. Dist. Lexis 108252, at *2,

2018 WL 3151426 at *2 (D. Or. June 6, 2018) (Beckerman, J.) (“class members need not be

identical in all respects”), report and recommendation adopted, 2018 U.S. Dist. Lexis 107598,

2018 WL 3150675 (D. Or. June 27, 2018).

       The core of all of Plaintiffs’ claims is that the PPB has a pattern, practice, and custom of

using tactics that chill protected speech because of the content of that speech—criticisms of police

generally and the PPB in particular. One significant part of this pattern, practice, and custom is the

use of unconstitutional force at civil rights protests since the murder of George Floyd—specifically

the use of indiscriminate force against, at best, passively resistant protestors. This practice is, in

and of itself, unconstitutional. The Portland Police Bureau has maintained this pattern, practice,

and custom for years. Their failure to train and/or discipline officers for violating the constitution,

and to cease this pattern, practice, and custom has had the effect of condoning or acquiescing to

these unconstitutional practices. As has been demonstrated over the past few years, and during the

pendency of this case, the PPB engage in restraint and respect for First Amendment rights when

nominally pro-police groups rally in Portland. When groups critical of police rally, PPB engages




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in aggressive tactics to prevent the expression of protected speech, often culminating in the use of

indiscriminate force against people engaged in protected speech.

        Plaintiffs point to a common nucleus of core facts making up their claims, and seek

injunctive relief only to cure those claims. This is precisely the framework from which certification

under Rule 23(b)(2) is appropriate. From this general framework, many common questions of law

and fact emerge. First, with respect to the general class and the First Amendment claims made on

behalf of that class:

            o Whether the class was engaged in protected speech through its protest activities in

                support of Black Lives Matter and against police violence;

            o Whether the defendants’ aggressive tactics in policing of protests in support of

                Black Lives Matter and against police violence would chill a person of ordinary

                firmness from continuing to engage in the protected activity;

            o Whether the content of the class’s message was a substantial motivating factor in

                the defendants’ conduct (the use of aggressive tactics in policing of protests in

                support of Black Lives Matter and against police violence). To determine this

                question, the jury will need to assess common questions of fact, including:

                    §   Whether the defendants’ tactics in response to other types of protests were

                        different;

                    §   Whether whatever non-discriminatory rationale the City puts forth for

                        those differences is believable;

            o Whether the conduct of the Portland Police Bureau in policing protests in support

                of Black Lives Matter and against police violence was the policy, custom, or

                practice of the City of Portland because it was either:



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                   §   a longstanding practice or custom which constitutes the standard operating

                       procedure of the local governmental entity. This requires the jury to

                       determine common factual issues, including:

                           •   Whether PPB’s tactics with respect to protests in support of Black

                               Lives Matter and against police violence differed substantially

                               from its tactics with respect to other protests;

                           •   How long any differences in response have persisted.

                   §   Or, the individual PPB member who authorized or directed the retaliation

                       was an official with final policy-making authority and that the challenged

                       action itself thus constituted an act of official governmental policy;

                   §   Or, an official with final policy-making authority ratified the retaliation

                       and the basis for it.

           o Whether the policy, custom, or practice of the City of Portland amounted to

               deliberate indifference to the class’s constitutional right to free expression;

           o Whether the policy, custom, or practice of the City of Portland was the moving

               force behind the violations of the rights of the class.

These questions could be broken down into many subparts with questions of both law and fact that

are common to the determination of the entire class’s claim. However, due to the nature of the

class claims as claims for injunctive relief, the truly dispositive common question is: if the City of

Portland has a practice, policy, or custom of engaging in discrimination against protestors based

on the content of their message, what form of injunctive relief is necessary to change that practice,

policy, or custom moving forward? See, Wal-Mart, 564 U.S. at 350 (noting that the critical

question is whether class litigation has the capacity to provide class-wide answers).



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       The two Fourth Amendment sub-classes--the indiscriminate force sub-class and the less-

lethal sub-class—similarly raise droves of common questions of law and fact (often mixed

questions of law and fact). They include:

   -   For the tear gas subclass:

           o Whether the use of tear gas, when the police know that individuals who have not

               engaged in any unlawful conduct will be affected by the gas, amounts to an

               intentional seizure of those individuals under the Fourth Amendment.

           o What degree of exposure to tear gas is necessary to amount to a seizure under the

               Fourth Amendment.

           o Whether the circumstances that existed on May 29, 30, 31, June 1, 2, 5, 6, 13, 26,

               27, 30, July 4, 18, August 5, 12, 19, 22, 23, 24, and September 5 justify the

               seizure of all the individuals who were seized by the use of the gas.

   -   For the less-lethal subclass:

           o Whether the PPB had a custom, practice, or policy of failing to apply their general

               use of force policies (and therefore failing to apply an individual Graham

               analysis) before using less-lethal force against individual protestors in crowd-

               control settings;

           o Whether PPB had a custom, practice, or policy of failing to require officers who

               used force against protestors to follow their own policies with respect to report

               writing and documentation of the use of force;

           o Whether PPB had a custom, practice, or policy of failing to review uses of force

               against protestors through the chain of command as their policies require;




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       Any one of these common legal or factual issues, standing alone, is enough to satisfy Rule

23(a)(2)’s permissive standard. Abdullah, 731 F.3d at 957. Here again, however, the truly

operative question is whether, if there is a custom, practice, or policy that results in violations of

the Fourth Amendment against protestors, what injunctive relief is appropriate to remedy that

unlawful policy.

       The fact that class members may have different factual circumstances does not render

commonality non-existent. Courts recognize that even “[w]here the circumstances of each

particular class member vary but retain a common core of factual or legal issues with the rest of

the class, commonality exists.” Evon v. Law Offices of Sidney Mickell, 688 F.3d 1015, 1029 (9th

Cir. 2012) (internal quotations omitted); see also Walters v. Reno, 145 F.3d 1032, 1046 (9th Cir.

1998) (“Differences among the class members with respect to the merits of their actual document

fraud cases, however, are simply insufficient to defeat the propriety of class certification”). This

is especially true here where any factual differences are immaterial to the core, and common, legal

questions. See, e.g., Hernandez v. Lynch, 2016 WL 7116611, at *19 (C.D. Cal. Nov. 10, 2016)

(granting certification in challenge to U.S. immigration officials’ policies and practices

surrounding bond requirements for detainees even though outcome of individual bond cases would

depend on the facts of each case).

       Due to the numerous common questions of law and fact among the proposed class, the

commonality requirement is satisfied.

       C.      Plaintiffs’ Claims Are Typical

       Typicality is satisfied if “the claims or defenses of the representative parties are typical of

the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “The purpose of the typicality

requirement is to assure that the interest of the named representative aligns with the interests of



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the class.” Hanon v. Dataprods. Corp., 976 F.2d 497, 508 (9th Cir. 1992). “The test of typicality

‘is whether the other members have the same or similar injury, whether the action is based on

conduct which is not unique to the named plaintiffs, and whether other class members have been

injured in the same course of conduct.’” Ellis v. Costco Wholesale Corp., 657 F.3d 970, 984 (9th

Cir. 2011). The Ninth Circuit does not require “the named plaintiff’s injuries to be identical with

those of the other class members, only that the unnamed class members have injuries similar to

those of the named plaintiffs and that the injuries result from the same, injurious course of

conduct.” Armstrong v. Davis, 275 F.3d 849, 869 (9th Cir. 2001); see also Rosario v. Livaditis,

963 F.2d 1013, 1018 (7th Cir. 1992).

       Courts have found typicality where various class members were injured more or less than

the class representatives, see Mullen v. Treasure Chest Casino, LLC, 186 F.3d 620, 625 (5th Cir.

1999) (variations in degree of respiratory illness does not defeat typicality); Hartman v. Duffey, 19

F.3d 1459, 1471-72 (D.C. Cir. 1994) (different job categories and rates of pay do not defeat

typicality in workplace discrimination class action), where certain class members claim that they

were satisfied, see Rosario, 963 F.2d at 1018, or where class members were injured at different

times. See Alfus v. Pyramid Technology Corp., 764 F. Supp. 598, 606 (N.D. Calif. 1991).

       As with commonality, any factual differences between plaintiffs also does not defeat

typicality. LaDuke v. Nelson, 762 F.2d 1318, 1332 (9th Cir. 1985) (“The minor differences in the

manner in which the representative’s Fourth Amendment rights were violated does not render their

claims atypical of those of the class.”); cf. Marisol A. v. Giuliani, 126 F.3d 372, 378 (2d Cir. 1997)

(certifying Rule 23(b)(2) class despite differences in the exact nature of the harm suffered by class

members).




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       In this case, plaintiffs’ claims are premised on precisely the same conduct as the claims of

proposed class members. Plaintiffs and proposed class members each attended protests in support

of Black Lives Matter; they each were subjected to the use of force by the City of Portland; and,

at the time they were subjected to that force, none of them were engaged in physical resistance or

active aggression. Thus, Plaintiffs’ claims arise out of the same course of conduct, are based on

the same legal theory, and resulted in similar injuries as the claims of the proposed class.

Accordingly, the typicality requirement is satisfied.

       D.      The Class Is Adequately Represented

       The final Rule 23(a) prerequisite requires that the representative parties have and will

continue to “fairly and adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). This

factor has two components. First, the named representatives must appear able to prosecute the

action vigorously through qualified counsel, and second, the representatives must not have

antagonistic or conflicting interests with the unnamed members of the class. Lerwill v. Inflight

Motion Pictures, 582 F.2d 507, 512 (9th Cir. 1978).

       Here, plaintiffs have the same interests as the proposed class members—all have engaged

in protests, and all have been exposed to force by the PPB.               Plaintiffs understand the

responsibilities of being a class representative and are willing and able to actively participate in

the action, and they do not seek unique or additional benefits from this litigation. Roberts Decl.

¶¶2-8; Belden Decl. ¶¶2-8; Johnson Decl. ¶¶2-8; Dreier Decl. ¶¶2-8; Wrecksie Decl. ¶¶2-10.

Plaintiffs’ objective is to secure injunctive relief that will protect the entire class from the

challenged practices. As such, Plaintiffs do not have any interests that are antagonistic to the

interests of the proposed class.




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       Proposed class counsel, Albies & Stark, Levi Merrithew Horst, and Oregon Justice

Resource Center, have and will continue to prosecute this matter vigorously and adequately protect

absent class members. These firms have committed significant resources to litigating this case,

regularly engage in major complex civil rights litigation, and have experience in class action

lawsuits involving civil rights. Albies Decl. ¶17-21; Merrithew Decl. ¶¶ 2-5; Chavez Decl. ¶¶ 2-

11. Proposed class counsel have been appointed as class counsel in class actions litigating

violations of federal and state laws. Id. Thus, the adequacy requirement is satisfied.

 II.   Plaintiffs Satisfy the Requirements of FRCP 23(b)(2)

       In addition to satisfying the four requirements of Rule 23(a), the proposed class also

satisfies Rule 23(b)(2). Certification of a class under Rule 23(b)(2) requires that “the party

opposing the class has acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” Fed. R. Civ. P. 23(b)(2). In the Ninth Circuit, “[i]t is sufficient [that] class members

complain of a pattern or practice that is generally applicable to the class as a whole.” Walters, 145

F.3d at 1032, 1047. “‘The key to the (b)(2) class is the indivisible nature of the injunctive or

declaratory remedy warranted—the notion that the conduct is such that it can be enjoined or

declared unlawful only as to all of the class or as to none of them.’” Lyon v. ICE, 308 F.R.D. 203,

213 (N.D. Cal. 2015) (quoting Wal-Mart, 564 U.S. at 360).

        “[T]he focus [in a Rule 23(b)(2) class] is not on the claims of the individual class members,

but rather whether [the Defendants] ha[ve] engaged in a ‘common policy.’” In re Yahoo Mail Lit.,

308 F.R.D. 577, 599 (N.D. Cal. 2015). Thus, “[t]he fact that some class members may have

suffered no injury or different injuries from the challenged practice does not prevent the class from




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meeting the requirements of Rule 23(b)(2).” Rodriguez v. Hayes, 591 F.3d 1105, 1125 (9th Cir.

2010).

         Rule 23(b)(2)’s requirements are met here. Plaintiffs allege and present substantial

evidence of a common policy by the City of Portland—using force against BLM protestors for the

purpose of dispersing them (and thus silencing their expressive conduct) when protestors have

engaged in nothing more than passive resistance. Either it is lawful to gas and use less-lethal force

against compliant and passively resisting protestors, or it is not. Either the City treated police

accountability protestors differently from fascist sympathizers, or it did not. Undoubtedly, the City

will argue that its use of force against protestors was the result of individualized Graham

determinations that the particular force at the particular time was justified. Plaintiffs intend to

prove that these are nothing more than post-hoc justifications; the true purpose of all the force used

was to disperse the crowd. The resolution of this question is for the finder of fact at the merits

stage. The existence of the dispute is further support for the need of a class.

         Because plaintiffs and the proposed class seek injunctive relief only, the class certification

requirements are necessarily more relaxed. MIWON, 246 F.R.D. at 630. Nonetheless, given the

amount and strength of evidence supporting this motion, the Court should have no trouble

concluding that the requirements of Rule 23 are met here.



                                          CONCLUSION

         For the foregoing reasons, plaintiffs respectfully request that the Court grant this motion

and enter an order certifying the proposed class under Rule 23(b)(2); appoint plaintiffs as class

representatives; and appoint the plaintiffs’ counsel as class counsel.




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DATED this 19th day of January, 2022.



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